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February 16, 2021

Michael T. Brooks
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32713 Vintage Way
Coburg, Oregon 97408
Telephone: 541-556-6130
Pro Se

                     UNITED STATES DISTRICT COURT

                             DISTRICT OF OREGON


MICHAEL T. BROOKS                                       Civil No. 6:14-cv-01424-MC
    Plaintiff
       V


AGATE RESOURCES INC., Doing Business
as Trillium Community Health Plan, Inc., et al
        Defendant

                                   CERTJJ?/CATE OF SERVICE

re:           ANSWER, ORDER OF 1/29/2021 (FILED WITH US SUPREME COURT)
              DECLARATION, BROOKS, RE ORDER OF 2/16/2021
              SPOLIATION LETTER, 2/16/2021


                     With regards to

              Order, 1/29/2021


Reilley D. Keating
Stephan H. Galloway
Michelle Lee
Attorneys for Agate Resources
Stoel Rives, LLP
760 SW Ninth Avenue, Suite 3000
Portland, Oregon 97205-2584




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PLAINTIFF placed the following items in an addressed container to be sent via first class mail
on February 16, 2021.
               ANSWER, ORDER O.F 1/29/2021 (.FILED WITH US SUPREME COURT)
               DECLARATION, BROOKS, RE ORDER 0.F 2/16/2021
               SPOLIATION LETTER, 2/16/2021

       The above listed items were placed in a pre addressed stamped envelope and sent to the
below addressee on January 17, 2021. The Court's Order did not arrive until 2/10/2021. Plaintiff
telephone the Court clerk on 2/11/2021 and evidently it was sent to Alan Leiman, who did not
receive it. It was returned and sent to Brooks on 2/05/2021 and took until 2/10/2021 to get to
Coburg. A second copy was sent by the Court on 2/1 l/202land arrived on 2/13/2021.
       Brooks is disabled and was not able to find help until the weekend, both writing these
answers and the declaration and finding the memory sticks. Those are being sent under separate
cover to Stoel Rives. They are accompanied by a Spoliation letter. The Court's Order makes no
provision for sending evidence to the Supreme Court, in spite of the fact that the Court was told
Plaintiff is filing with them. Brooks assumes the Supreme Court will do whatever Courts do and
request the evidence. Brooks apologizes for the extra steps but sees no way of avoiding
disappointing on Court or the other.



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Court Clerk
United States District Court, District of Oregon
Eugene Oregon




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Respectfully,




Plaintiff in Pro Se
February 16, 2021




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February 16, 2021

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Telephone: 541-556-6130
Pro Se



                                 INTHE
                    SUPREME COURT OF' THE UNITED STATES

                                     Michael Brooks
                          Refatoir Th~ U nitled States of Amcirka

                                                       vs

                                lJS District Court of Oregon
                                             and
                        Centene Corporation and it's shell companies
                                      Agate Resources
   dba Lane LIPA (aka Lane Individual Practice Association and Lane Independent Physicians
                                      Association) dba
                and Trillium Community Health Plan and the shell companies

                         Motimu for Emergem!y Injunctive Relief
                           hn Support of :retitiolfilell"s Wirit !fD:ll:' Certfoll":,uii
                            'fo \the Supnme C01U1n·t of the United States




                        Answer, District Court Order of 1/29/2021
                               (Received on 2/10 an 2/13)


        Plaintiff/Relator Michael T. Brooks petitions the Court to grant Injunctive Relief from
 District Court interference in his filing an appeal of the Courts dismissal of 6: 15-cv.. 00983-TC/
 JR/MK/AA.
         This case is messy. Brooks is an injured whistlcblower that was fired for whistleblowing
 about the solicitation of bribes by state officials. Brooks provided information and evidence that

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led to the investigation and resignation of former governor Kitzhaber. Brooks has additional
information about the current governor, Kate Brown, and Oregon's Attorney General, Ellen
Rosenblum, both of whom Brooks reported and gave records of fraud and 1-IIPAA violations to
and who retaliated against Brooks.
       Oregon operates a more or less independent health insurance exchange. That exchange
provides insurance for public employees, public school teachers, college students, inmates in the
state prison system, and patients at the state psychiatric hospital and county mental health
hospitals and clinics.
        The problem comes in when the state and Agate-Centene seH those records. Agate and
Centene's counsel admits that Agate sold counseling and medical records for foreign students.
The cases Stoel Rives refers to was
                            Stoel Rives is objecting to Brooks revealing that Agate sold that
record to a foreign information warehouse, e.g. they engaged in espionage. How anyone could
figure out the students identity from the other                         Agate had records for that
they peddled defies credulity. Likewise, referring to                                          is
ridiculous because there were several and thousands of those students, too.
        The problem is not the fact that Agate and Centene are selling those records. The problem
 is that the Oregon Health Authority sold those records to Agate. Brooks had a zipped file from
 OHA, one of the files from the state psychiatric hospital sent monthly to Del Texley at Agate.
 Del "unzipped" those files and extracted the information into a database table. Brooks managed
 to get one of those zipped containers. It not only contains a map of the table columns, it contains
 the name of the contact person in OBA that Del would call if he ran into problems. In other
 words, this Court, the United States, has proof of OHP giving PHI to a business associate that
 was not even permitted to see those files, much less own them, as the District Court explicitly
 claims in its order.
         OHA provided Agate w ith HIV reports. The file Brooks was sending to this Court had
 235 individuals who had positive HIV tests. The file contains the patient's name, address, social
 security number, and date of the test. Those were also provided monthly. So were lab reports of
 STD tests, counseling records, including private records of marriage, sexual disfunction/disorder,
 drug and alcohol abuse counseling.




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         Employee and their familfs medical records for workers in 33 states were also sold.
UsuaUy the buyer was the employer and credit rating agency. A worker with a sick chHd or
spouse, one undergoing (say) chemotherapy would usually loose their job if the cost ceiling
exceeded $40,000 for the entire family. Even if they did not loose their job, the credit agency
would jack their interest rate on credit cards, auto or home loans up by three to five points.
         No one wants to touch this case because it involves some very powerful politicians in
Oregon and on the board of the Centene Corporation. The Court, and please note this, conferred
ownership of these records on Centene-Agate. In fact, the "Protective Order" was an absolute
gag order that protected corrupt executive at Agate and Oregon: "The pairties ~me lEXPlll!E§§lLY
PROHIBITED from using oir discloshug PHI slU!lbject to thfts On·idcir foir any JPllilllf'(MJ)Ste (()){llnteir
thaim pirosccuthng oir defe!llldnll1lg tlllns aHcitf1m11:'
         Brooks was prohibited from revealing this to Congress, to the US Supreme Court or other
courts, to administrative agencies, or to wronged patients. lt was designed to protect the political
and business cronies of the Oregon District Court. Aikn interpreted PHI in the broadest sense and
included money from the sale and buying of shares, insider trading, tax fraud, in her Protective
Order.
         Books is asking for emergency injunctive relief from the District Court, the Ninth Circuit
Court, the state if Oregon and Stoel Rives. Stoel Rives is not merely Agate and Centene's
counsel, they also represent Oregon, MODA Health, and other OHP contractors.
          In the dense web pf corruption that is Oregon government, Agate-Centene is the Benefits
 Manager for public employees and school teachers in Lane County and, at the same time, the
 Benefits Manager for MODA. When Brooks cites examples of being denied imagining, drugs
 and other necessary medical care, it is Stoel Rives behind the scenes. Before Brooks understood
 that he would file appeals with MODA for denied medical services. They (Agate-Centene-
 MODA) denied an MRI of the upper spine for 10 months. That led to the rupture of the Mylin
 sheath covering of the spinal cord, a spinal infection, and Brooks developing multiple sclerosis.
 Agate executives own medical businesses like Slocum Orthopedic. They bought them using
 money scammed from Medicare by double billing, charging muhiple times for CPT codes like
 20680 and by using shell companies as the insurer, provider, vendor, and. referring provider for
 millions of dollars in claims. The shell company is Agate and the patients are all fake.




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       This becomes really interesting when the fake patient is receiving rnail order opiates from
an Agate-Centene pharmacy shell. As rnany as l 00 of these illusory patients shared. a post office
box and each of the patients was dispensed a months supply of 40 or 80 mg oxycotin or
hydrocodone with a street value of around a dollar per mg. Some months as many as 500,000
pills would be dispensed with a street value of $20 mHHon or more. The government wants to
know where illegal street drugs come from? Look at Oregon! Brooks and a California police
officer, Dick Sabbath discovered this scam when they were looking for fraud and abuse by
patients. When we ran into the "patients", they led us straight back to Agate.
        The Oregon District Courts are even more corrupt than Agate, hence the broad Protective
order and the rushed Order to destroy records. Keep reading. Brooks intends to make you mad.




        Plaintiff/Relator Michael Brooks receive this Order on February 10, 2021. It was post
marked on February 5, 2021. Another copy arrived on February 13, 2021. [Exhilbit 11]. Brooks
telephoned the U.S. Supreme Court on February 10 to inform them of the Order, because they
would be interested in the information the district court just ordered destroyed or returned to
 Stoel Rives.
        Brooks telephoned the District Court on February 11 about receiving the Order late and
 pointed out to the clerk that he is handicapped and impoverished and unable to even shower
 without help. Help finding the thumb drives and data would have to wait until Saturday,
 February 13. The District Court Clerk said Brooks would need to write a letter about that to the
 District Court Judge. Brooks explained that due to the spinal injury, he is paralyzed on the left
 side, cannot make a fist, and cannot sit up to write without a bradycardia attack. [Ex.Mlbnt 2]
 Sitting up causes spinal compression which brings on the bradycardia episodes and that, in tum
 results in fainting. [Exlllibit 3] Since that same injury completely destroyed Brooks' swallow
 reflex, [Exhibit 4] Brooks aspirates saliva when passed out. Brooks will drown in his own saliva
 ifhe lays down for more than a few minutes. AU of those injuries either are untreated injuries or
 they stem from injuries sustained   l{J)ltll   ltlll<e job at Agate Resources.
         Brooks filed for accommodations under the American's With Disabilities Act, the
  Rehabilitation Act, and the due process clauses of the Constitution. The District Court and the
  Ninth Circuit, refuses to provide accommodations and defense counsel treats each new health


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crisis as an excuse to file another 800 pages of motions, declarations and dense legal lingo by
teams of from three to six attorney's. When Brooks about to have heart surgery on January 31,
2020, the Court and Stoel Rives took that as an invitation for a motion festival and filed 32 new
motions! Look at November through January 2018-19. Brooks was appealing an ARB decision
where the ARB believed three Stoel Rives attorney's over a Pro Se plaintiff Stoel Rives said
there was no provision for cross filing whistleblower claims. Brooks had/has a recording of a
BOLI attorney telling him they have cross filed whistleblower claims with OSHA (Sarbanes
Oxley, Affordable Care Act, and HIPAA). The AL.J's and ARN flat out refused to listen to the
recordings and wouldn't accept Brooks self made transcripts.
        So, Brooks found himself before the Ninth Circuit in case 19-71240. Brooks was
supposed to write a Brief. Brooks had written a draJl of this, 60 pages long and was editing it
down when he started having bad bradycardia episodes where his heart would nearly stop (36
BPM). Brooks passed out from one episode on November 18, had a heart attack and collapsed on
top of his computer destroying it and bleeding all over . Brooks ended up in the hospital for
November 18-19, 2019. The problem was the brief was due. Brooks sent the 60 page Brief with
 an explanation of what had happened. The Court refused it and gave Brooks 30 days to submit a
 new one that was at most 30 pages long.
        Brooks could barely afford his medication, ~ $650 a month, and had to charge a new
 computer. He dictated the shortened Brief and submitted to the court before the 30 days was up
 on November 20, 2019. The Court, instead oflooking at it, demanded Brooks pay Court foes in
 spite of the fact that he is so poor had to sell his cameras, amateur radio, and his bamboo rod
 making equipment (I am he Mike Brooks that mades those classic Payne and Leonard rods) just
 to pay for rent and medical bins. They invited defense to file a motion for "failure to prosecute".
 Then, they dismissed the case on April 21, 2020.
         Brooks was having a series of serious cardiac episodes because Agate-Centene-MODA
 suddenly cut him off from his medication. Brooks goes into the side etfocts of suddenly stopping
 Xarelto. Couple that with Brooks aRso being forced to take Cephalexin - 500 mg.,
 hydrochlorothiazide - 25 mg, Losartan - 100 mg, Mctoprolol Succinate - 100 mg (heart rhythm
 regulation), Xarelto - 20 mg, Lovastatin - 20 mg, Potassium Chloride - 20 mg and Vitamin D2 -
  50, 000 IU to counteract the effects of the other drugs, with clonazepam - l mg for spasms.
  Suddenly stopping this was dangerous, but that was the whole point. It led to several months of


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trying to get stabilized after that nasty trick. It succeeded in that Brooks could not do anything in
Court and spent most of December and January in the hospital. Brooks had 7.5 hours of heart
surgery on January 31, 2020, getting out just in time for Covid 19 and a series of bradycardia
attacks that are increasing in severity and timing.


        Brooks has been working with a senior clerk at the US Supreme Court about getting the
evidence in the labelled memory stick to you. Note that not aU of the folders contain the records
referenced. Brooks was in the process of populating this when the District Court Order came
down. There is no provision in that Order to keep or give exhibits to the Supreme Court [lE:llCMlblfit
li] and the District Court seems to be trying to dictate what Brooks can write in his Writ of
Certiorari.
        Stoel Rives knows this because they have been the recipient of every filing and
communication with that Court. Brooks is severely disabled and cannot comply with this Court's
 Order without help. He had two hours of help on February 13, but will be without out help on
 February 14 and 15. Brooks is going to try to delete any HIPAA records on his computer and
 package up the thumb drives found on February 13 to be sent to Stoel Rives.
        The Post Office is closed on February 15 and Brooks will not be able to mail those to
 Stoel Rives until February 16. Brooks is going to take a taxi to the US Court House on Tuesday
 morning and file this reply, the Court ordered declaration, and a Spoliation Letter.
         Brooks is only able to certify that he has returned the memory sticks that were returned to
 him on October 20, 2017. Brooks swore that he had stored all, as in everything, he had with
 Leiman and Johnson in 2016 and 2017. Those were for safe keeping and copying. There were
 approximately three banker boxes of documents, a dozen DVD's and CD's, and more than 20
 memory sticks in that locked storeroom. This bears expliaining to this Court and to Stoel Rives
 because everyone seem to think that Brooks has documents that he does not have. Brooks'
 documents and evidence were stolen on September 10, 2017, and never returned.
          Leiman and Johnson's partner, Marianne Dugan, evidently took those documents and
 memory sticks on September 10, 2017, and sent everything to Stoel Rives. Brooks has not
 received the his evidence and documents back. Brooks fiAed. muhiplc motions with the District
  Court but the District Court did not do anything to get those returned to him. Brooks contacted




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Leiman and Johnson on September 20 because he was no documents with which to prosecute his
case. [Exhibit 5]
               I need to collect my papers and documents which all <~f'you had.for scanning. I
       will need these as soon as possible {ll am to have any hope in pursuing my cases. Please
       provide me with a time and place to collect these this week. {/you wish, since Jam still
        hobbled up from the "production" and will ring someone to help load the papers. Will we
        need boxes? I am e.\pecially interested in the original documents I gave you all in those
        plastic sleeves.
               I had a 30 day windowfi·om 8113/2017 and it is now 08/20/2017. That is a.fitll
       week <~(my time to prepare, gone. Marianne, I would like the return <~/the $1000 l gave
       youfhr depositions. I am going to have to hire a Court stenographer and record
       voluntary depositions.
                Please re,\JJond by tomorrow. Jam rapidly running out <~l time. [9/20/2017 8: 2 7
       PM, email.from Brooks to Leiman and Johnson]

        Mike - The documents that Leiman & .Johnson have are boxed up and ready to be
        returned to you. We are here this qfiernoon. What time. We can bring them down to the
        alley so that you don't have to be park. Regards. Alan [9/2112017 12:04 PM, email.frmn
        Leiman to Brook\]

        I can do it right now. I have to be back by 2:30.fhr my grandchildren. Or, I can do it after
        5:30 [9/2112017 12:08 PM, email.from Brooks to Leiman]

        Brooks was given 1/2 to l /3 of a bankers box of docunK~nts and a single memory stick.
 The memory stick was from Marianne Dugan to Jesse London who was concerned about her
 given attorney-client emails to Stoel Rives. It needs noting that the m.emory stick is "a lie" (the
 original is enclosed to Stoel Rives). Dugan created a fake memory stick. She definitdy gave
 Stoel Rives   an of the Qui Tam evidence and Brooks Pro Se work product and every attorney
 client email that was in the locked store room.
        I just started looking and.f<nmd attorney client emails:
        Arnold Law 10/13/2013, 10/03/02013, 11/22/2013 - re: preservation qfevidence,
        Alan Leiman 12/20/2016 to Reilley Keating
        Kevin Dagforde to Alan Letman 12/09/2016
        Michael Vergamini 11I16/2014, re: BOLI suit r~filing
        Jesse London 4/28/2016 - email to the.federal court
         ,:,*ALL M of the attorney emails.fi'om Honeywell and lntermec, where lam an expert
         witness and all marked attorney--client
         and, what look at the attached.file! brooks220.pdf
         [9/21/2017 2:23 PM; email.from Brooks to Leiman]


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       Mike -Attorney clieu»t privileged commumication:f <are commw1icatimu between11 ymi
       mui your attorney ,,wt between your attorney mul tltird parties suc!o as otlier adtm'ou1y:;,;,
       Since we are not representing you any longer it is uwt appropri,1te to cmitinuut
       conversing since 1 do not w,u11t do be percefred as giving you legal mivice whe»rt yoKfi <are
       not my client. Best for thefitture. [9/2112017 2:40 PM; email Leiman to Brook\]

       This was news; as far as Brooks was concerned none of these attorney's were his. District
Court Judge Ann Aiken appointed Jesse London as Brooks' Pro Bono Attorney. Mr. London had
Brooks looking up evidence for him until he was satisfied that there was a case. Then he shopped
this around to Kafoury Law and, then, to Leiman and Johnson. The Court permitted London to
retain them, resign his position as Po Bono attorney and join them. They, in turn, hired Marianne
Dugan. Brooks had no input and no say in any of this. Brooks met with this self referred to
"dream team" a total of three times.
        These attorney's hid from Brooks what they were doing. Brooks was extremely upset
when he found that they had completely gutted his original complaint of September 2, 2014
[Exhibit 6]. Brooks was asking for help and treatment for on the job injuries, untreated medical
issues and Agate's blocking of access to medical care, defamation, and civil rights violations.
Brooks cannot under stand how he can file a complaint about these issues and the Court can
appoint attorney's that drop those, can rewrite and botch a slam-dunk case so badly that defense
counsel can misrepresent CPT codes and key records without a challenge and dismiss the qui tam
case and, then prohibit the original relator/plaintiff, Brooks, from filing an appeal. Everything
Brooks has read and been told about the law makes this impossible.
        Brooks could care less about False Claims Act money. That belongs to the patients in a
fund that will hire lawyers to go after corrupt insurers like Agate, Centene, Trillium, Ambetter
 Health Net, MODA, Cigna and Keizer.
        The violations by Oregon and Agate are the most obviously provable instances of billing
 fraud, tax fraud, civil rights violations, violations of international treaties, that the CMS
 investigators had ever seen. One of them asked Brooks to file the False Claims Act suit in August
 2014, which Brooks did on September 2, 2014.
         The tax fraud concerned the fact that actual records show Agate executives sold 103,202
 shares worth $201,243,900 with $131 million in reserve fund on top of that and only reported
 and paid federal taxes on $109 million. Agate's CEO, Terry Coplin, supposedly received $5.9
 million, when Brooks had database records proving he received over $15 million. Andi the

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District Court filed a "protective Order" keeping those records from the IRS, the SEC, and the
multimillion ax fraud and insider trading by fourteen other Agate executives and state officials.
Brooks simply cannot understand how a District Court can block the very information of those
wrong doings from being given to the Congress and the federal government.
           The District Court struck mention of medical counseling records for
                                       because defense objected that the name of the state college
and nationality of that student would somehow allow someone to identify .          from the other
5,197 students from that country alone whose records were sold by Agate.
           This has the Oregon District Court overruling decisions by the US Supreme Court and
the Second and Eleventh Circuit's decisions in Mora v New York and Gandara v. Bennett. The
federal Courts have long held that it is a requirement that fo reign national's consulates must be
notified when one of their citizens has been harmed. Defense counsel admits that Agate
resources perpetuated "outrages upon dignity, in particular humiliating and degrading treatment"
on foreign nationals in violation of Red Cross, Geneva, and current US treaties with the
individual governments of those foreign students including the tJN Convention On Rights For
the Disabled. Yet, this Court is ordering the delivery of those records to defense counsel under
the guise that Agate owns those confidential records. [Exhibit 1 and Exhibit 7, Stoel Rives
filing].
           The District Court disregarded this Court's decision in the Cochise Consultancy Inc. v.
 United States, ex rel. Hunt. The Oregon District Court assigned Magistrate Judges that had
 worked for or had friends in the Oregon Department of Justice. Brooks experienced them
 blocking his complaints about HIPAA violations and the selling of patient and patient family
 member records.
            Brooks was threatened for opposing them and felt he could not morally not back down.
 The Magistrate Judges were imposed and this Courts ruling in Roell et al. v. Withrow, No. 02-69
 (2003) was ignored.
            Then Brooks filed for a mistrial and Judge Aiken dismissed the case , sh·uck the Revised
 Complaint written by the Court' s own appointed expert and attempted to make sure Brooks could
 not appeal that. It's all in the record.
            This court was/is responsible for "legal team" of London-Leiman-Johnson-Dugan. They
 stripped Brooks' complaints, including Brooks whistleblower and personal injury claims


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personal injury claims, the claims of defamation, claims against wrongdoing by the state, and
making it possible for the District Court to ignore a the national and international case involving
patients from 34 states and 12 foreign countries. Then those attorney's settled in to just look at
fraud and make big bucks.
       They simply did not care that this case involved treaties and international law that Brooks
thought would go to the highest levels of the US government. How did a District Court and
greedy lawyers hide that and throttle the ability of the US and foreign government, the UN and
International Court of Justice to act on this?
              I am now.finding emails.from Charese Rohny and Linda Williamsfi·om Kc(/'oury
       Law, *ALL* qf'my corre.,pondence with the.federal investigators. every plan, note and
       document 1 made while planning these suits prose. Marianne sent them ... virtually all <d'
       your research, along with notes you made in case.files... [9/21/2017 2:37 PM; email
       from Brooks to Alan Leiman]

                 Mike - Maybe those are not what she produced - Maybe those are just copies <d'
        everything she copied. I don~· knov,~ You will have to ask her. We returned the memory
        stick to you because you are the former client and this is your data. Be.fhre reaching
        conclusions please reach out again to M~·. Dugan. I cannot represent that the last
        memory stick we gave you earlier this qfiernoon contains what was produced to Stoel
        Rives. {/'that is what was produced I am not in any position to provide an opinion as to
        the appropriateness <?f'the production. [9/2112017 2:44 PM: emailfrom Leiman to
        Brooks]

                !just received a memory stick from Leiman and Johnson. It contains three folders:
         "Scans From Leiman Office 20170911-·12", "Stole Rives Production", and "thumb drive
        from client 20170911 evening". Did you give any <?f'these to Stoel Rives? The files fi:Jlders
        show them being created at 3:51 p.m. on 09/1312017, so I didn Y think you did. 1 am
         concerned because I was looking through them andfound emails.fi·om Charese Rohny,
        Jesse London, Alana Leiman, Arnold Law, Kevin Dagf<Jrde to Alan Leiman, and Michael
         Vergamini, and every email exchanged with the US Attorney:~· in Portland.
                Do you have any <~lmy documents? I cannot.find the original notes I made at the
         BOLi hearing and other documents. I need those as soon as possible.
         [9121/2017 3:02 PM: email.from Brooks to Dugan (she was not answering emails until
         prodded to by Alan Leiman]

         That memory stick has everything that was produced to Stoel Rives. [9/21/2017 3:36
         PM; re,\p<mse from Dugan to Brooks]




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         This was simply not true. As Brooks found out in October, Dugan has sent them
everything that was in that storeroom. She not only sent them all of Brooks case preparation
notes, his production reply couple with the documents he was claiming as privileged, she sent
them all of Brooks' Pro Se and attorney-client work product. Brooks goes into this in detail in the
Writ because it makes for great reading and the public corruption involved should warm he
hearts of any human being, conservative or liberal, that is interested in people and justice and
mercy.
         I have the thumb drive you lefifhr Jesse with Alan. That is what I have been looking at.
         It has emails.from Charese Rohny, Jesse London, Alan Letman Arnold Law, Kevin
         Dagfhrde to Alan Leiman, and Michael Vergamini. It has case files with notes written by
         Alan Leiman, an attorney client privileged document (#2020), notes on Garrett Andres
         and Miles Yamamoto, and everything I ever did in preparingfor these cases. [9/2112017
         4:37; email.fi'om Brooks to Dugan/

         Mike - Drew and I will make another thorough search of our office but I believe we have
         returned all original documents that were in our possession to you. We will not(/y you fl
         that is not the case. /9/26/2017 9:35 PM; email.fi'om Alan Leiman to Brooh]

                 Mike - Drew and I will make another thorough search <~lour cdfice but I believe
         we have returned all original documents that ·were in our possession to you. We will
         notffy you ![that is not the case. Regard\'. Alan [9/2612017 9:44 PM email.from Letman
         to Brooks

          Two points are born out here. First, Alan Leiman told Brooks he resigned from this case
 on September 21 and these emails show Brooks desperately trying to find any of the evidence
 that was stored at Leiman and Johnson office. Except for that me1nory stick and the small,
 quantity about 10% of the total of paper documents, Brooks has never seen any of the paper
 documents again. The paper documents that were returned are the original Qui Tam Act filing,
 removed from the spring binder it was bound and scattered, a baggy of broken and mixed pieces
 of DVD's and CD's, and that one single memory stick. The only other evidence Brooks received
 was the three memory sticks fi:om Stoel Rives on October 20, 2017, and the paper spreadsheet of
 HIV reports sold by Agate in 2010, the 44,000 prescription drug records for Oregon psychiatric
 patients sold by OBA to Agate, and a paper spreadsheet of foreign student counseling and
 medical records that Agate sold to an international information warehouse. Those records were
 purchased from OHA by Agate.



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       As this Court is aware, Brooks is disabled and filed with this court a detailed record of his
disabilities. All of those stem from on the job injuries at Agate. Agate not only refused to treat
those injuries, Agate blocked Worker's Compensation filings, Agate and Oregon abused their
positions as Benefits Managers and refused Brooks' insurer permission to provide treatment or
even imaging. Furthermore, Agate executives were caught red handed altering records at Slocum
Orthopedic, owned by Agate's President.
        To use just one example, on May 30, 2013, this court received records from Oregon
Imagining for guided steroid injections to Brooks right foot. That foot had been so swollen for
several months. Brooks was confined to a wheelchair and an image showing that the broken
calcaneus fracture was still open and not healed.
        Slocum's fabricated chart notes on June 4 (4 days later) by Dr. Jones, conveniently retired
and overseas on a mission, claim that Brooks was walking straight with one crutch. That is
countered by the staff at Slocum and two witnesses that actually took Brooks to that appointment
who recall quite clearly that Brooks was not only in a wheelchair, but Dr. Jones insisted that
Brooks have immediate surgery or risk permanent damage to the foot. Brooks told the doctor that
Agate was refusing to give him time off for treatment, much less surgery, and both witness
 wrote statements that Dr. Jones told Brooks to cite the Family and Medical Leave Act and
demand time off for surgery. They recall Dr. Jones explaining to them and Brooks what FMLA
 was, how it worked, and the fact that the Department of Labor would sue Agate if they fired
 Brooks for taking time off for a medically necessary procedure. In addition to this, Brooks has
 the insurance records and original notes Slocum sent to his primary care doctor. How on earth
 does a District Court dismiss this as irrelevant and beyond the scope of the Court to hear when
 this is an unlawful termination case based on untreated on the job i1tjuries? This is conclusive
 proof of fraud!
         Brooks was injured on the job, as a direct result of Agate's creating an unsafe and
 hostile work enviromnent. The lower back injuries and crushed lefr foot happened because Agate
 was permitted to alter Brooks' job from non-·excmpt (hourly) to exempt. That permitted Agate
 Resources to order an already injured Brooks to come to work two hours eady and do custodial
 work before doing his regular job as a database administrator, TSQL,C/C++· , Pascal and Visual
 Basic programmer from 8:00 AM until 6 PM ... or 7 or 8 or 9.




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       The crushed left foot happened on August 19, 2013, at round 7 AM as a result of a heavy
metal cart tipping over and crushing the left fi)ot. Brooks right foot was broken and in a cast.
Brooks had just graduated from being confined to a wheelchair to using crutches.
       Brooks had an MRI for that on August 20. The results were phoned to Brooks at work by
Dr. Cassell on September 9 at 1:30 PM. Brooks told Koijenek and Woods about this and
demanded Worker's Compensation. When Brooks got the usual promises of Agate saying for
everything and threats that his job would be terminated, Brooks pointed out that Agate had never
paid one dime for the detached retina, the broken feet, the injured back and Brooks told them
what he had been told by Dr, Jones . Kmjenek kicked Brooks out of the office, escorted him to
the back door and told him not to return without the MRI. Brooks got the MRI and returned with
that and completed paperwork (form 801) for Worker's Compensation on September 12, 2013.
Brooks was called into HR the foUowing Monday, September 16, at 8 AM and essentially fired.
His badge and FOB were taken and he was sent home. Brooks was told there was a secret
complaint filed against him. Brooks asked what that was for and they refused to tell him.
        Brooks had several large tears to the retina of the right eye and that retina was detached,
 an on the job accident that happened on April 2, 2012. Agate block surgery for that that resulted
 in permanently impaired vision. With custom corrective lenses, the best vision Brooks can
 achieve today is 20~50 and that had doubled vision. Every letter on a printed page is "echoed" to
 the left about one half space.
        Brooks was "passing blood" and doctors thought he had a kidney stone in September
 2012. On September 27, 2012, doctor's found a mass in Brooks' right lung that they were trying
 to treat while Agate was running interference trying to prevent treatment and demanding access
 to medical records. Agate claimed that they did not know about that, except they forgot Brooks
 wrote weekly status reports where he discussed that. [Exhibit 8]
         Indeed, in an unsigned statement in Brooks' Personnel File, Patrice Kmjenek wrote about
 knowing of "spots" found on Brooks lung. The statement is dated September 18, 2013, but the
 letter referenced to Agate from Dr. Beckstrand was on November 19, 2012. And that letter asked
 that Brooks be allowed to telecommute and not be forced to work 80 hour weeks doing two jobs.
 Dr. Beckstrand wrote them about a severe drug interaction that, coupled with their harassment of
 Brooks, was endangering his health. The Court will note that K01jenek's statement that the
  growth was benign is utter fiction. Doctors were still treating this, giving Brooks an experimental


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drug to shrink the growth. No one knew if the growth was cancer or foreign matter lodged in the
lung. Agate altered statements. The earlier statement was dated November 20, 2012, and had
Agate knowing about the drug interaction and the mass found in the lung. Altering records has
been a "normal" practice ofthis and it is criminal. This is both a whistleblower retaliation and a
medical case over on the job injuries that were not treated. Altered records establish criminal
intent and are criminal in and of themselves.
        The District Court refused to accept those declarations and another from a high school
teacher that vividly recalls fly tying classes attended by Dr. John Sattenspiel where Agate's sale
of medical records was discussed. Dr. Sattenspiel was Agate's Chief Medical Officer. He
defended Agate' sale of employee and their family's medical records to employers, patient
profiling in the Hot Spotter reports, as legal and necessary to save money. He used the term
"triage". There are eight witnesses to that.
        Brooks mentions this, again, because he clearly stated that he was working with the US
Supreme Court in an appeal to this entire matter and Brooks wants this on the record for both the
 Supreme Court, the World Court and the US Congress.
        Brooks notes that he has filed for accmnmodations with this Court based on injuries
 incurred on the job that brought this case about in the first place.
        Brooks notes and objects that the Court is conveying ownership of PHI on a corrupt
 company that has no legal authorization to own these records or even see them, under both state
 and federal law. Indeed, in 15-12-003 the Oregon Insurance Division fined former Agate
 Resources owner Terry Coplin $10,000 for conducting insurance business with Agate Resources.
         Agate has never been issued a cert(ficate <?/'authority evidencing the authority to transact
         insurance in Oregon. Agate transacted insurance as defined under ORS 731.102(1) and
         ORS 731.146(1) ... Agate did not hold a cert}ficate <fauthority under ORS 731.072(1).
         Agate violated ORS 731.022 and ORS 731.354 because Agate transacted insurance
         without a certjficate ofauthority issued under ORS 731.072(1). [E:i-duilbnt 9]

         Agate Resources, however, is a fraudulent conveyance. It has no employees, facilities,
 business, nor assets. [Exhibit 12] Agate resources, though, has been permitted to operate as a
 con by the state if Oregon for years. Its fraudulent shells seem to only exist to run scams. Brooks
 was puzzled by Lane Home Medical a DMW and drug mail order outlet operated by Agate.
 Brooks ended up calling patients because he could. Ot figure out what they would do with an
  entire garage for of adult diapers or why their eye doctor was prescribing shots of C9003,

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Palivizumab at $1500 a dose for their children. They had no idea of what I was talking about. I
did not encounter even one patient that had gotten the service or item billed and paid for. !' m
pretty sure every single one of those bins was fraud. How could OHP miss it if they weren't
doing so deliberately.
        Agate has been permitted to operate a series of fraudulent shells that iBegally conducted
insurance business in Oregon and across the country. In doing that, the only time it was stopped
or fined was when its owner, Terry Coplin, attempted to defraud Centene out of money.
Suddenly, the state "discovered,, that Agate Resources did not have a license to conduct
insurance business in Oregon (but neither did Centene and Trillium forfeited its license under
ORS 441.025 and did not have authorization from CMS to operate as a business associate).
        Trillium forfeited its certificate when it was transferred to Centene ( or even from LIPA to
Agate Resources) and none of the shells selling prescription drugs or DME was legally
operating
         Each license shall be issued only_fhr the premises and persons or governmental units
         named in the application and shall not be tran~ferable or assignable ... A health care
        .facility licensed by the authority or department may not <~/fer or provide services beyond
         the scope <f the license classffication assigned by the authority or department. [ORS
         441.025}

 Agate operated Employers Health Alliance, EHA, the Alliance in 33 states where Agate collected
 and sold employee and dependent prescription drug, medical, laboratory, and counseling records
 to employers, credit agencies and information warehouses. Agate operated at least four different
 mail order pharmacies without state approval where clerks and the director of those businesses, a
 music major with no medical credential, fiHed prescriptions, substituting drugs from a book.
 Brooks knows first hand of patients dying from that, patient dying because Agate denied them
 access to critical medical to save money for executive bonuses. One of those deaths was to a four
 year old girl that because she poor and rnixed race. Minority race foster children and pregnant
 women were routinely denied care, especially Black, Hispanic, and Native American patients
 who were denied care at rates on less than 6% versus referral approvals of 65% to 90% for
 educated white patients.
         Oregon, and especially OHP/OHA and its Doctor contractors, run a series ofbiHing
  scams where the ignore the Medicaid/Medicare/ACAAssignment charges on the CMS
  Physicians Fee Schedule. The allowed maximum charge for a procedures, identified by a CPT,

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HCPCS, or Revenue Code dictates the maximum charge that may be billed by a vendor and the
maximum charge that a patient can be charged. A good example of this, which Brooks has
personally experienced is for CPT code 93271. This is wearing a three lead ECG recorder for 30
days. The maximum charge for this on the Physicians Fee Schedule is $176.09, Oregon, chooses
to interpret its contract with HHS to allow it to charge anything to likes and that procedure in
Oregon is $1925.00, with the patient owing aH of that but the CMS payment of $176.09 less
25%, or $1,792.93! That's quite a difference from the maximum $44.00 charge a patient pays in
every other state in the country. However, as with Civil Rights, wiretapping, OSHA and EEOC
complaints, Oregon claims the federal government has no jurisdiction in Oregon. It's in every
medical contractors agreement with the state. They forfeit the ability to file federal Civil Rights
claims:
           Oregon claims sole jurisdiction over.fraud cases and immunity.from.federal law. Under
           42 U.S.C. § 2000d(4) •· (7) ..... arises.from or relates to the OHP Contract shall be brought
           and conducted solely and exclusively within the Circuit Court o(Marion Cou]ltV ti>r the.
           State q[Oregon; provided, however,_i(a claim 11.JUSt be brought in a federal forum, then it
           shall be conducted solely and exclusively within the United States District Court of the_
           District of Oregon. In no event shall this paragraph 19 be construed as a waiver <~f the
           State o.f Oregon of the jurisdiction qf'any court or <~f'anyform ofdefense to or immunity
          .from any claim whether sovereign immunity, governmental immunity, immunity based on
           the Eleventh Amendment to the Constitution qfthe Unites States" [2017 OJJP Contracts,
           in the section "Governing Law, Consent to Jurisdiction'']


          Brooks asks the US Supreme Court for an emergency injunction to prohibit the Oregon
 District Court or the Ninth Circuit Court from interfering with his appeal and providing evidence
 to the US Supreme Court, the United State Congress, the SEC and IRS, and the governments of
 foreign students harmed by the sale of their records by Oregon, Agate Resources and Centene.
           Brooks is asking the Supreme Court to overturn the "Protective Order". It doesn't protect
 the patients, whistleblowers, siek children and mother. It doesn't protect the taxpayers. It protects
 a sleazy business and some of the most evil men and women you will ever hear about. Strike the
 Protective Order and open those records up to the press. It's not rocket science. Remove the
 name, address, phone number, social security number and medical patient identifier. This is what
 they the IRS does, what intelligences agencies and the FBI do when discussing suspects. You
 simply do not hear about newspapers identifying those suspects and they are trying in then.



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       Brooks asks the US Supreme Court for an injunction prohibiting Agate, Centene or any
of their shells or counsel from "owning", handling or selling medical, prescription drug,
counseling, or psychiatric records. Their Trillium subsidiary, at best, is a subcontractor of state-
federal cooperative insurance programs and they may handle records of patients that they are
processing claims for them. However, none of these people were Agate customers!
        Agate does not have licenses or permission to possess those records under 45 CFR
160.103. Any records in their possession should be surrendered to Brooks or CMS for safe
keeping. Brooks asks for a spoliation order prohibiting the destruction or transfer of those
records by Stoel Rives or Centene to any other party, including any state or state agency, public
corporation or contractor. Brooks asks for the return of those records.
        Brooks asks this Court to strike Judge Aiken's Protective Order. It protects Agate and a
corrupt Oregon. It harms patients and the public. Those records should be made available to the
press. It's not hard to remove the patient name, address, social security number number and
medical id from records. The IRS does it all the time. in this case, the public good will be served
by the broadest distribution of those records possible. Sleazy outfits like Agate, Centene,
 Trillium, Ambetter, Health Net, eviCore, CareCore, MODA, Kaiser, need to straighten up and
 treat patients like people, not profit center. Executives like Cole, Coplin, Kotjenek, Neidortr:
 belong in prison, not board rooms.
         Bad judges need to be removed from the bench and good judges owe it to themselves to
 get rid of corrupt judges. Brooks' evidence is overwhelming. Every ordinary person he has spoke
 with about it, shown the evidence to, thinks Dugan was set up by Stoel Rives AND the Court,
 and Dugan threw her client under a bus to avoid a few thousand dollars in fines she could have
 fought and won if she had one shred of decency.
         Stoel Rives needs to be disqualified. Stoel Rives counsel needs to be disbarred. They lost
 their souls in this case and they don't have a prayer of getting them back as long as they sell their
 lives for a tawdry win for some of the worst people you will ever encounter. Brooks is going to
 prove that case in his Writ. Brooks has emails, letters and recordings that sink these people once
 and for all.
         Then, under Rule 60 and due to fraud against the country,, as well as fraud against Brooks
 and hundreds of thousands of patients, Brooks asks that this Court rc••open 6:14 .. cv-01424-AA/
  MC in a venue other than Oregon. The Courts in this state are so corrupt it is not possible to get


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anything like a fair hearing. Even worse is the U.S. Attorney's office in Portland. Put yourself in
my shoes where you provide evidence to a Portland US Attorney and an investigator and six
moths later find out the guy had sent your evidence to Washington D.C. and Jeffrey Wertkin who
is caught peddling your evidence. The Portland US Attorney had gone to lawyers Brooks had
found to take the case on a contingency basis and told them that Brooks was lying. Brooks was
approached by an attorney at Kafoury who told him of this and she was upset that Brooks had
evidence that she knew was true.
        If this court so. Wishes, you could eliminate the $400 million in double billing fraud.
Brooks doesn't care about that anyways. The judges mishandling this case dismissed it because
they couldn't understand fraud, CPT codes, and lacked the ability to recognize patterns.
Everyone will understand what these evil men and women did to those college students, to those
psychiatric patients, to the workers who couldn't buy a home or a car or lost their job. Everyone
can understand the foster children and pregnant impoverished women that these healthcare
executive swine stole everything from. Please let me have them.
        Brooks asks for the appointment of competent legal counsel not in any way connected
with Oregon to help draft the Writ of Certiorari. The subject matter is both timely and apolitical
enough to district the voters from the current food fight and get them to focus on something that
 is actually important to their lives. At the same time, this Court will get to decide two huge issues
 - how do you handle due process and disabled litigants. Brooks is clearly disabled. Brooks was
 clearly deliberately harmed by his employer, Oregon, Stoel Rives and the Court in an insane
 attempt to get him to quit. This is exactly what Agate did,. It is no different from what organized
 crime thugs have done to witnesses exposing their crimes. It is why 18 USC 1513 was written,
 Section 1107 of Sarbanes Oxley:
        (e) Whoever knowingly, with the intent to retaliate, takes any action harm:fitl to any
        person, including interference with the lawful employment or livelihood <~/'any person,
        for providing to a law enforcement <dficer any truthful information relating to the
        commission or possible commission qf'any Federal <~ffense, shall be.fined under this title
        or imprisoned not more than IO years, or both.

         Not providing counsel when Brooks cannot even take care of himself, is the very
 definition of disabled. Brooks is dying and simply doesn't care. I have nothing left to live for.
 My health is gone. My family is shattered. l have nothing but an endless road ahead of me where



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things get worse. The one thing I do have is faith in God and faith that there are decent people.
My father was one. I am trying to live up to the giant that was my father.
       The Oregon District Court was beyond remiss in denying accommodations and making a
mockery of their courts. They were remiss in not upholding the law and Brooks and those
foreign students, foster children, an paid for their duplicity.
        It seems obvious that Congress intended for the ADA to apply to the federal Courts. In
2008, when this Court made it impossible for the disabled get fair treatment, the Congress
enacted the ADA Amendments Act to 1nakc it clear that their intent was that the ADA and
Rehabilitation Act apply to their creation, to the article 3 courts.
        Congress has done this from time to time, with the Civil Rights Act and with the Federal
Rules of Civil Procedure, too. Brooks is enclosing another Exhibit, 10. Notice the large dent in
the rear door of his RAV and the wheelchair, not handicapped, wheelchair, parking permit. That
dent happened in Portland on March 7, 2016, when I was shopping for a hat for my wife's
birthday on Broadway, right in the heart of town, two blocks South of the mid town Marriott. I
 stopped at a stoplight and before I knew it, my RAV was surrounded, a guy pried open the back
 door with a crowbar and half a dozen screaming black clad craznes crawled over the seats, kicked
 open the door and. Dragged me out into the street. They beat me up, threatened to kill me with
 that crowbar, and left me.
        A police car was parked on the other side of the plaza. They saw he whole thing and
 didn't do anything. Ask me about that when I'm in your Courtroom.
 Respectfully,


  ~~ \,~'~,
 Michael T. Brooks
 Plaintiff in Pro Se
 February 16, 2021

 32713 Vintage Way
 Coburg, OR 97408

 mibrooks@me.com
 mobile: 541-556-6130




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                                     U.S. District Court

                                     District of-Oregon

Notice of Electronic Filing

The following transaction was entered on 1/29/2021 at 10:43 AM PST and filed on 1/29/2021
Case Name:           United States ofAmerica ex rel v. Agate Resources et al
Case Number:         6:14-cv-01424-MC
Filer:
WARNING: CASE CLOSED on 06/28/2017
Document Number: 96(No document attached)

Docket Text:
ORDER: In Plaintiff's Response to Defendant's Motion to Enforce Protective
Order, Plaintiff moves for a new trial, to sanction the defense attorneys, and to
order a federal investigation in to these matters. Plaintiff's motions are denied.
The Court finds no evidence of fraud in Relator's filing and the issue of whether
"the District Court exceeded its authority in dismissing 6:14-cv-1424-MC" is
merely an attempt to relitigate long settled issues. Whether Centene-Agate
retaliated against Relator by denying hospital care and surgeries in 2018 and
2019 is not relevant to any issue Jn dispute in this action, which was dismissed in
June 2017. Having reviewed Plaintiff's response to Defendant's motion, the Court
GRANTS Defendant's Motion to Enforce Protective Order (91]. Relator is
ORDERED to return or destroy all of Defendants' confidential documents in his
possession, custody, or control, (2) return all of Defendants' documents in
Relator's possession, custody, or control that contain protected health
information under the Health Insurance Portability and Accountability Act, and (3)
certify to this Court that he has complied with the above orders. Plaintiff is
granted 14 days to certify to the Court, in a document submitted under penalty of
perjury, that he has complied with this order. Signed on 1/29/2021 by Judge
Michael J. McShane. (cp)


6:14-cv-01424-MC No electronic public notice will be scot because the case/entry is sealed.



Michael T. Brooks
32713 Vintage Way
Coburg, Oregon 97408
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                                                               r"                        Heart Rate                  Done   •
                                                                      H            D           w        M            y

                                                                                       RANGE

                                                                                       41-97 8PM
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                                                                    Resting Rate                              54-69 BPM


                                                                    Walking Average                         69-100 BPM



                                                                    Workout                                        •• BPM



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             RANGE                                                                             42-77 sPM
             41-88 sPM                                                                         Nov 21, 2020

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     Latest: 4:41 PM                          70 BPM
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     Range                                41-184 BPM

                                                                 About Heart Rate
     Resting Rate                          53-69 BPM


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                        Print This Page   I   Close This Window
 Name: Michael T. Brooks I DOB: 7/27/1947 ! MRN 01618546 I PCP KATHERINE L BECKSTRAND, MD


Pathology - Details
                                                                         1   About This Test


Study Result
Narrative

Collection Date: 05/04/2018
Ordering Provider: KATHERINE BECKSTRAND MD
Copy to Provider(s):
Performed by Pathology Consultants, PC: 123 International Way, Springfield OR 97477,
541-341-8006
CASE: SP-18-12373
PATIENT: MICHAEL BROOKS
Client Order Number:

FINAL DIAGNOSIS:

Scalp lesion, shave biopsy:
-At least squamous carcinoma in situ (see comment).

COMMENT:

Sections show squamous carcinoma that is apparently in situ and has a
verrucous growth pattern simulating a wart. The shave biopsy is not
sufficiently deep to exclude invasive squamous cancer.

This case was also reviewed by Dr. Hammock.

MICROSCOPIC EXAMINATION:

Performed.

CLINICAL HISTORY:
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Skin lesion on scalp; ICD-10: L 98.9

GROSS DESCRIPTION:

Received in formalin in a container labeled with the patient's name and
designated scalp is a 0.7 x 0.5 cm irregular, coarsely granular,
tan-white skin shave. Eccentrically located is a 0.4 x 0.2 cm focally
crusted, tan lesion that grossly abuts the nearest margin. The specimen
margin is inked green. The specimen is bisected and totally embedded in
cassette 1A.
KS 5/8/2018 09:44 AM




David S. Meyers, M.D.
Electronically signed 5/9/2018 8:40:31AM

Pathology Consultants, PC 123 International Way
Springfield, OR 97 4 77

Component Results

There is no component information for this result.

General Information

       Collected: 05/04/2018 9:09 AM
        Resulted: 05/09/2018 8:46 AM
     Ordered By: KATHERINE L BECKSTRAND. MD
    Result Status: Final result
This test result has been released by an automatic process.


               MyChart® licensed from Epic Systems Corporation,© 1999 - 2015.
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<Heart                    Heart Rate               Add Data            <Heart               Heart Rat e           Add Data

    H             0           w            M           y                   H           D        w         M          y

                                  RANGE                                                     RANGE

                                  43-170 BPM                                                40-191 8PM
                                  Oct2020                                                   Aug 2020
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  latest: Yesterday                                 81 8PM               l atest: 5:46 PM                          74 BPM


             Show More Heart Rate Data                                              Show More Heart Rate Data



                                                                        About Heart Rate
 About Heart Rate


          •                                    --
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                                                                                                              ••
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                  EXHIBIT 4
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       -            PeaceHealth
       B            Sacred Heart Medical Center                                  11111111111111111111111111111111111   Patient lnStr

       Speech Therapy
       0   Acute Therapies at RivcrBend • Phone: (541) 222-6362
       0   Acute Therapies at University District - Pt,one: (54 1) 68C-!3382
             egon Rehabilitation Center at University District .. Phone. (54 1) 636--7363
             tpatlent Rehabilitation Services at Univcrsi District - Phc-ne: (5-~1) 686-7085

       Patient Na
       The
                                ~ ~ - - - . r - - : i~ " + < F - - -
                                                                   linic Swallow Evaluation on
                                                                                                               te../ ~.
                                                                                                             _7_..'--""_.."---f----showed
                                                                                                                 ------- - --
       It is recommended that you follow these diet recommendations:
       SOLIDS:
       ( ) Nothing orally (NPO)            ( ) Dysphagia Advanced
       ( ) Dysphagia Puree                        ( ) Mechanical Soft
       ( ) Dysphagia Transitional                ~ Regula r (general) S, WIQ II
  LIQUIDS:
  ( ) Nothing orally (NPO)               ( ) Ice chips only  ~R      \. &.
.i<J"hin (water, coffee, tea, Ensure, all juices) ~M~ffl • Q                          1).,,
  ( ) Nectar-thick (buttermilk, nectars, tomato, milkshakes, blenderized soups, cream)
  ( ) Honey-thick (can't drink it through a straw, but you don't need a spoon)
  ( ) Pudding-thick (pudding, custard style yogurt, fruit custard)

    COMPENSATORY STRATEGIES:
    ~~itioning :                                   Supervision:                                     Medication:
  · ~Upright at 90 degrees                        ( ) Intermittent                                 { ) With water
      ) Chin-tuck positioning                     ( ) Constant                                    Xln     pureed food
    ( ) Turn head right/left                      ( ) Feeding needed                               ( ) Crushed in pureed
    ( ) Tilt head right/left                      ( ) Feeds self with set-up                       ( ) With thick liquid
    ( ) Other: _ _ _ _ _ _ _ _ _                  ( ) Ncne                                       , - ,. 1 pill at a time

.,,.
       -  A Safe Swallow Please ...
         Take small bites/sips
                                                                          '-"'
                                                               "~ Swallow twice: dry swallow
                                                                                                          JnlJ
         Wait for each swallow before taking another bite/sip J ( ) Remain upright approximately
    ( ) Alternate food/liquid                                        30-45 minutes after eating.
   ( ) Use a straw                                              ( ) If coughing occurs, stop eating
 · _;/(!Jo not use a straw                                      ( ) Do not feed patien, if tired or sleepy
    '. ) Check for pocketing food                             )Aswallow first, then talk
  _,.(Rinse mouth/dentures after eating                         ( ) Place food right , left / center of mouth
  , , ) Clear throat then sw.allow if ~urgly v t
   ,~Other: ~                  ~  c)a, •U (.,
       , =----------------
       .: {Follow-up with the Speech-Language Pathologist is recommended. If you are 111 agreement, your
           appointmet;.be scheduled after,v,e receive orders from your Physician.
       _AV'f\
       Therapis Signature
                                     C     Ctc'"o~,
                                               EMR#
                                                            M,."h-~. .. "W(
                                                            Date      · Time
       Patient Identification                                                                                                     SH0307 (04/10/13)
                                                                               rc,c1ceHea th Sc:cmo 1-k; 1rt Medical Center
                                                                                   Outpauant ThernJJY S0rv1ces
                                                                            Sncech Therapy <;wallow Eval Instructions
                                                                                              ! of 2
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                  EXHIBIT 5
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  Mike Brooks
  Evidence, my papers and other documents; Second Request
  September 20, 2017 at 8:27 PM
  Marianne Dugan                       , Alan Leiman



I need to collect my papers and documents which all of you had for scanning. I will need these as soon as possible if I am to have any
hope in pursuing my cases. Please provide me with a time and place to collect these this week. If you wish, since I am still hobbled up
from the "production" and will ring someone to help load the papers. Will we need boxes? I am especially interested in the original
documents I gave you all in those plastic sleeves.

I had a 30 day window from 8/13/2017 and it is now 08/20/2017.That is a full week of my time to prepare, gone. Marianne, I would like
the return of the $1000 I gave you for depositions. I am going to have to hire a Court stenographer and record voluntary depositions.

Please respond by tomorrow. I am rapidly running out of time.


Mike Brooks
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 Mike Brooks
 Re: Evidence, my papers and other documents; Second Request
 September 21, 201 7 at 12:07 PM
 Alan Leiman
 Marianne Dugan                        , Jesse L. London, Attorney at Law                                                                    , Drew Johnson



I can do it right now. I have to be back by 2:30 for my grandchildren. Or, I can do it after 5:30

Mike

Sent from my iPhone



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  'Nli~,t hmr,. Nri cnn brinrJ thc,m dcwm              t,, !hr. :,fl,Jy .,o tno.t you d1Jn'l l"1f.lVf1 to l'Ju p<lfk   OJ' ,rJ·: i s::·
     Case 6:14-cv-01424-MC                   Document 98-1      Filed 02/18/21   Page 39 of 81



  Alan Leiman
  Re: Evidence, my papers and other documents; Second Request
  September 21, 2017 at 12:08 PM
  Mike Brooks


Now will work. Call when you are in the alley.




  '.r:111 from my IPl,rmr,
     Case 6:14-cv-01424-MC                      Document 98-1              Filed 02/18/21            Page 40 of 81



  Alan Leiman
  Re: mdugan's memory stick
  September 21, 2017 at 2:40 PM
  Mike Brooks
  Drew Johnson

Mike - Attorney client privileged communications are communications between you and your attorney not between your attorney and
third parties such as other attorneys. Since we are not representing you any longer it is not appropriate to continue conversing since I
do not want to be perceived as giving you legal advice when you are not my client. Best for the future. Regards. Alan


  On Sep 21. 2017 at 2:31 PM, Mike Brooks rmibrooks@me.com> •:1rot~·

  I j11st started looking and found attorney client emails:
  /\mold Law 10/13/2013

  Arnold Law 10/03/02013

  Arnold Law 11/22/2013 - re. preservation of evidence,

  Alan Leiman 12/20/2016 to Reilley Keating

  Kavin Dagforde to Alan Leimar 12/09/~016

  1111,r:hael Vergamini 11/16/2014. re: BOLi suit ,efiling

  ,Jr:r;se London 4/28/2016 - email to the federal court

   •fill   of the attorney emails from Honeywell and lntermec, wtiere I arr an e (pert ·:,itoiess ,1rd all mark~d attorr ey--chent



  and, what the attached file:
  ,·.llrooks220.pdf>
     Case 6:14-cv-01424-MC                     Document 98-1                Filed 02/18/21            Page 41 of 81



  Alan Lelman
  Re: My papers and documents
  September 26, 2017 at 9:35 PM
  Mike Brooks
  Drew Johnson                           , Jesse L. London, Attorney at Law

Mike - Drew and I will make another thorough search of our office but I believe we have returned all original documents that were in
our possession to you. We will notify you if that is not the case. Regards. Alan

Alan Leiman
alan@leimanlaw.com


CONFIDENTIALITY NOTICE: This e-mail and any files transmitted with it are private and confidential and are solely for the use of the
addressee. It may contain material which is legally privileged. If you are not the addressee or the person responsible for delivering to
the addressee, be advised that you have received this e-mail in error and that any use of it is strictly prohibited.


  On Sep 26, 2017 at 10:51 AM. Mike Brooks .::rnibrooks -?me.com> ,, rote

  I have been looking through the papers 1 I~1cl<eti up from Leiman und Johnso1 and severa original documents are miss1ng i,l.is!
  <:ritIcal are original notes made b<iforE:t tho BOLi mealing or March 3 trro..g~ 5 2014 a::~ t.'1e nrtes made 1:;ring ana Immeo;a,eiy
  aftor the meeting on Mar<:t- 6, ;;,014. '/✓here arc they?

  I had praserved these in a plastic paper r,rotec,or and they are nowhertt ,o l)e founo. Did 1/.a,,anne gI11e triese to Stoel Rive!; without
  my permission or a strict chain of custody? V/hat happened to otner :irlglnat do::u:nents. SDmc1 of !hose have no backups tllat l can
  find?

  Mike Brooks

  Sent from my iPad
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                  EXHIBIT 6
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                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                   EUGENE DIVISION


UNITED STATES OF AMERICA                )     Civil Action No. 6:14-cv-01424-AA
  Ex rel.                               )     REVISED COMPLAINT
                                        )     FILED IN CAMERAAND
      Plaintiff                         )           UNDER SEAL
                                        )
vs.                                     )
                                        )     RELATOR REQUESTS THE
Agate Resources                         )     APPOINTMENT OF BOTH
Oregon Healthcare Plan                  )     A PRIVATE ATTORNEY
State Of Oregon                         )
                                        )
  Defendants                            )




                        PLAINTIFF'S COMPLAINT PURSUANT TO
           31 USC, CHAPTERS 3729-3732 OF THE FEDERAL FALSE CLAIMS ACT
                                            And
                         42 USC, CHAPTERS 1320, 21 A, 21 E, 21 F,
                                            And
                     PARTS 160, 162, AND 164 OF SUBCHAPTER C OF
                   TITLE 45 OF THE CODE OF FEDERAL REGULATIONS
                                            And
                       Stark Anti-Kickback and HIPAA/HITECH ACTS


In the United States of America, by and through qui tam relator MICHAEL T. BROOKS
(Relator), brings this action under 31 USC, Chapter 3729, et seq, as amended (False
Claims Act) to recover damages, penalties, and other remedies established by the False
Claims Act. The Relator also brings actions under 42 USC Chapter 1320D-9, 21 A, 21 E,
and 21 F, based upon long term willful neglect for profit, of the HIPAA privacy
regulations.

                             I. PRELIMINARY STATEMENT

1. This is an action to recover damages and civil penalties on behalf of the the United
States of America, for violations of the False Claims Act, the Stark Anti-kickback and
HIPAA/HITECH acts resulting from false or fraudulent records, statements, or claims, or
any combination thereof, by the defendants, their agents, employees, or a-conspirators,
or any combinations thereof, with respect to false DME and other claims made to the
federal Medicare and Medicaid Programs.


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2. The False Claims Act was enacted during the Civil War. Congress amended the
False Claims Act in 1986 to enhance the Government's ability to recover losses
sustained as a result of fraud against the United States after finding that fraud in the
federal programs was pervasive and that the False Claims Act, which Congress
characterized as the primary tool for combating government fraud, was in need of
modernization. Congress intended that that the amendments create incentives for
individuals with knowledge of fraud against the government to disclose the information
without fear of reprisals or Government inaction, and to encourage the private bar to
commit legal resources to prosecuting fraud on the Government's behalf.


3. The False Claims Act provides any person who knowingly submits, or causes the
submission of, false or fraudulent claim to the US government for payment or approval
is liable for civil penalties of up to $11 ,000 for each claim, plus three times the amount of
the damages sustained by the Government.


4. The Federal False Claims Act allows any person having information about a false or
fraudulent claim against the government to bring an action for himself and the
Government, and to share in any recovery. The Act requires that the complaint be filed
under seal for a minimum of 60 days (with service on the defendant during that time) to
allow the Government to conduct its own investigation and to determine whether to join
the suit.


5. This is an action for treble damages for each claim false claim and each false
statement under the cited federal laws.


II. PARTIES

7. Relator, Michael T. Brooks, was the Data Warehouse Administrator at Agate
Resources, dba Trillium CHP, From November 7, 2005 until September 27, 2013, when
he was unlawfully terminated when Agate hacked his email account and discovered he
was a whistleblower. (See companion federal lawsuit.)


8. Defendants
Agate Resources, dba Trillium Community Healthcare Plan, Trillium CCO, Agate
Healthcare, Trillium Holdings, Trillium Medicaid, Trillium Medicare, Trillium Sprout,
Apropo Benefits Management, LIPA (alternately: the Lane Individual Practice
Association and the Lane Independent Practice Association), Home Medical Care of
Oregon, Health Policy Research Northwest, NuCo, Evergreen Health, Employers Health
Alliance (EHA), etc.



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OHP contractors in public-private partnerships with the State of Oregon.

The State of Oregon: Ellen Rosenblum, Attorney General and John Doe staff members
of the Oregon Department of Justice; Anthony Corcoran, Susan Rossitier, and "Shelly"
Doe of the Oregon Employment Department; former Governor John Kitzhaber; Cyvlia
Hayes, acting as an agent for the state of Oregon; Chris Lynch, Operations Manager,
Oregon Bureau of Labor and Industry, Jeremy Wolff, BOIL investigator, Kate Brown, as
Secretary of State and, currently, as Governor of the State of Oregon, and Jeanne P.
Atkins, acting Secretary of State, and Lynne Saxton and John Doe's at the Oregon
Health Authority.


Ill. JURISDICTION, VENUE

9. The State of Oregon is part of these corrupt actions. The Relater cannot determine
the full extent of public officials, courts, or other authorities are corrupt or not. Thus far,
the Department of Justice and the Employment Office are provably part of attempts to
cover this up and both have committed multiple unlawful acts. The Oregon Health
Authority has officials who have received kickbacks and certain parties are known to be
involved. Likewise, but this is based on comments and conversations with database
administrators and report writers, Oregon's OHP contractors are likewise involved.
Agate, provably is. The only trustworthy venue for all of this is with the federal courts.

This, also is a federal matter. The retaliation, by the State of Oregon and Agate
Healthcare involve collusion, evidence tampering, the destruction of documents, and
both judicial and prosecutorial misconduct in retaliation against the whistleblower and
his family. State employees and Agate employees are both involved in breaking federal
laws and defrauding the federal government.


10. The Petitioner has information that suggests the involvement of other persons.
Most notably, kickbacks, in the form of shares and fraud against the government of the
United States.


IV. ALLEGATIONS

11 . The Petitioner has information that suggests the involvement of other persons for
suspicious reasons, but payments by Agate suggest bribery or payoffs. Most notably,
probable kickbacks, in the form of shares, were given to Peter Davidson, Executive Vice
President and Chief Financial Officer at Pacific Source, had received 440 as of
September 2008, all of which were exercised, with a value of least $15,000 (and,
according to the independent audit report, rather than the reported number from Agate,
the value of those shares is $1000 each. Then, the value of those shares was
$440,000).



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Similarly, Rhonda Busek, a lobbyist for Agate Resources and executive officer at LIPA,
and currently an senior level official of OHA, had received 563 shares as of the third
quarter of 201 o, with a declared value of $14,636, but, again, according to the outside
audit, had an actual value of $563,000.

Similarly, political figures and certain physician's, for rewards not connected with LIPA or
as profit sharing, had received enormous quantities of shares. Several of these are
currently board members of Agate, the Trillium CCO, or lobby with the State on behalf of
Agate. Others, however, have no relationship with Agate that can be identified.

Also, and somewhat more mysteriously, there are records that have no name attached
to the records.


12. The defendants do business in the State of Oregon, with the State of Oregon. The
Relator observed "shares", payments, in the form of shares, made by OHP contractors,
made to public agency heads, hospital executives, physician's, employees of the
Oregon Health Authority, and others. The Relator has records, the dates, and shares
given to some public agency heads and employees of the Oregon Health Authority,
hospital executives, physicians. The Relator, also, has a list of names, of state officials
who received payments, shares, and other favors and was researching those when he
was terminated. (Exhibits 1 and 2, on CD; variom, shareholder reports; and =xhibit 3,
names of other recipients of money, from Agate's serv0r)


13. The Relator has an audit report questioning Agate's accounting practices that show
a 300% profit increase from 2011 to 2012, by the movement of money from corporate
shells. It should be noted that this suggests tax fraud, also. That audit report shows a
variation in the value of the share's. Agate claims they are valued at between $200 and
$333, whereas the auditor reports being told they were valued at a flat rate of $1000 per
share. (Exhibit 4)

The Relator discovered that the claims database did not account for Agate's billings to
Medicare and,Medicaid or DME. Those bills were on tables maintained outside of
Agate's intranet and resided with Brandy Whitmire, personal accountant to David Cole
(VP of Finance) and Terry Coplin (CEO of Agate). Mr. Coplin, also, had private tables
setup on his MacBook computer by the Relator.

The records seen by the Relator show a discrepancy between the amount paid for DME
and the amount billed to the government. An electric wheelchair would have a
contracted value of, say, $500, on a claim. Agate would, routinely, bill this to the
government at the maximum allowable amount, disconnected from the claim. Agate's
Apropo Benefits Management unit had previously been caught, but not punished, for
this.




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The Relator also saw wide discrepancies between amounts paid for services. Some
vendors, and physicians, would be paid four or more times the established amount
using multiple provider identifiers and paid under vendor codes. Furthermore, Mr. Coplin
boasted about this to the Relater as having bought their loyalty and cooperation.


14. The Relator, beginning in 2007, participated in data extracts and studies for so
called self funded insurance plans, funded by employers. There were three different
kinds of reports. The first listed the employee, their healthcare number, the number of
dependents and the sum of medical claims costs. The second was a data extract of
claims, listing diagnosis (as diagnostic codes and in human readable format), cost, date
of service (both from and to dates). (Exhibii 5, frn Monaco Goacn Corµoration, exhibii: ':>
on disk "IVIONACO CIAIMS" and printed out on the master file)

Note, the Relator has seen the records for other employers, had records on his
workstation, that suggest more widespread sales of this sort of information. Some of
those employers were PacificCare, Secure Horizons (a PacificCare product), Pinnacle
Health Plan, Seneca Sawmill, OMG (Self Insured Plans), Providence, and Pacific
Continental Bank.

The Relator asked senior management what those reports were for and was told they
were for sale to the employer for purposes of determining layoffs. The Relater reported
this to the Oregon Attorney General's Office, by telephone, with a follow up of copies of
the reports. The Attorney General's Office did not report any of this to federal
authorities, as required by law under HIPAA HITECH, rendered an opinion o the Relater
that Oregon was exempt from HIPAA, and has participated in a cover up of this. The
Relator was outraged by this - employees were terminated because they had a sick
spouse or child! Some suffered bodily harm or death as a result of this, because Agate
and other OHP contractors.


15. More recently, beginning in 2012, under the direction of Patrice Korjenek, COO at
Agate Resources, Agate began providing patient names, and financial risk scores to
hospitals, clinics and physicians. One of the chief beneficiaries of this was Sacred Heart
Hospital and PeaceHealth, which the Relator saw resulting in patient dumping, based
upon that information. Agate sent, still sends so far as l know, a "hot spotter" report of
high cost patients on a monthly basis. (The mechanism for this is complex and the
Relater would like/need to explain it to the Court or a Court appointed investigator.) (An
ex~mple Exhibit of these repon:s is on ·.:he CD, "exaniple i-1Pf-1N/Analytics report to
hospital")

The Relator wishes the court to take possession of those records, under seal, and to
issue federal warrants to seize the other information detailed in this Action.




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16. Beginning in 2009, the Relater did data extracts and scripting, with custom filters
and walking threshold algorithms, for the so called "Ten State Study". This study looked
a Medicare and Medicaid data supplied by private businesses managing Medicaid and
Medicare programs for ten states (Minnesota, Ohio, California, Washington, etc.). The
contract was between Apropo Benefit Management and these businesses to discover
DME fraud and abuse. That study was expanded several times with the total of
discovered fraud totally $16 billion. The results of that study was not made available to
the government. The Relater was alarmed when he was informed by a departing
executive (at Agate) that the value of that study was to learn how to "get better at hiding
DNE fraud". The Relater reported this to the Senior Medical Officer at Agate.

17. Those studies were, along with additional records of suspected wrong doing, were
on my workstations at Agate. When Agate terminated me, I had an attorney file a
spoliation letter with them on October 3, 2013. Nanette Woods, a member of senior
management at Agate, ordered that my workstations be destroyed in spite of that. In
anticipation of this, I made three different copies of those reports and stored them on
Agate's intranet and places where it would be difficult for them to find. Likewise, backup
tapes of everything on Agate's intranet are normally kept for at least one year.

Subsequent to this, Oregon Bureau of Labor and Industries apparently made known to
Agate the location of those records where they were destroyed. That agency prohibited
the transfer his case for unlawful termination, based on whistleblowing and state
agencies, to the EEOC. In fact, in spite of documents showing state involvement, with
BOLi promising to file an addendum to his case (which BOLi had originally refused to
do), BOLi waiting until after the expiration of Oregon's statute of limitations. The Relater
only discovered this, by accident, when he made an anonymous telephone call to BOLi
and discovered that his assigned investigator had left and no new investigator has been
assigned to his case.

The Relaters cell phone records (the Relater does not have a landline) show multiple
phone calls to BOLi, trying to find out what they were doing. Those telephone calls were
not returned. BOLi, the Relater alleges, operating as an administrative agency,
operating under the Governor's office, purposefully derailed his legitimate complaints as
part of a state coverup.


18. As shown by SQL scripts [Exhibit 13) used to load data into medical analysis
software, Agate obtained and used genetic test results, reports of residential stays
alcohol and drug treatment centers, state information about mental health conditions
and the drugs prescribed for treatment. Senior Medical staff had, repeatedly, spoken out
about this being unlawful to Ms. Korjenek, but were ignored or retaliated against,
themselves.


19. A series of unlawful acts by Agate and state of Oregon officials that amount to a
criminal conspiracy, covered under the RICO statutes. The Relater believes that this is a

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normal practice by the state. These include bribery, pay to play campaign contributions
violations, conflict of interest, and agency member misconduct. The Oregon Health Plan
is a piggy bank for certain officials in Oregon, a source of campaign money, jobs for
relatives and friends, lobbyists, and bribes and kickbacks for agency heads. The
retaliation against the whistleblower, following his termination, by an OHP contractor
and the state of Oregon is illustrative of what whistleblowers can expect in Oregon"

The Relator applied for unemployment when he was terminated. The Realtors health
insurance was cancelled and his health savings account were seized by Agate, upon his
termination. The Relator was essentially penniless, unable to afford a surgery to his
foot, for an injury that occurred, at least in part, on the job.

 When the Relater applied for unemployment compensation, he was denied
compensation based on Agate's use of fabricated and fraudulent documents. Those
documents were falsely attributed to a former supervisor, when they were written by Ms.
Nanette Woods and Patrice Korjenek and those documents allege incidents that did not
happen, could not possible have happened. Furthermore, as indicated in multiple email
exchanges, Agate falsified the Relators They are criminal defamation that is a federal
concern, since the unemployment programs in the United States are joint state-federal
programs and the Relators claim for unemployment has been used by Agate as
retaliation for whistleblowing and by the state of Oregon as retaliation and an
opportunity to do discover on behalf of Agate.

Unemployment compensation was denied. That was appealed by the Relator to the
Oregon Administrative Court, where evidence and testimony showed that Agate's
documents were fabricated, that the Relater had been injured in work assigned activities
and, so the Relator believed, Agate was attempting to avoid the legal ramifications of
that -
   (i) harassment by Ms. Korjenek where, with one foot in a cast, the other in a brace,
          and on crutches, the Relater was told to clean his office with a media cart having
          one inch diameter wheels, resulting in a fall, swelling, an MRI and x-rays that
          included iodine injections into the right foot joint, etc.
    (ii) violations of the federal Family and Medical Leave Act. A determination that
          immediate surgery was necessary, as a result of an injury that occurred directly
          as a result of that harassment resulted in doctors notices and a request by the by
          the Relator for leave time under the federal FMLA for immediate surgery (the
          Relator's doctors had been recommending surgery since July, 2013, which the
          Relater had been requesting under FMLA and Agate had promised leave time "in
          November, following the completion of database work for the ACA, COO, etc.)
    (iii) the removal of legally filed grievances from the Relator's personnel file and
          introduction of fabricated documents.

The Administrative Court judge found in the Relator's favor and her written finding was
that the Relater was terminated without cause. Judge Monroe wrote, in her "Conclusion
of Law" , "The claimant was discharged but not for misconduct".



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Agate appealed this to the Oregon Employment Appeals Board. The EAB board, a
board of political appointees by Governor John Kitzhaber, meeting with only two
members, instead of the required three, with one board member having a primary
conflict of interest (his wife is a Nurse Practitioner whose practice is with Agate and is
friends with Agate Senior Management) overturned a court decision by the
Administrative Court.

In addition, as the Relator later discovered, on the day following Agate's appeal to the
EAB, they made a $10,000 "campaign contribution" to the Kitzhaber for Governor
campaign.

Similarly, when the Relator filed about this, about BOLi misconduct and the involvement
of the Governor's girlfriend, Cylvia Hayes (when the Relator attempted to complaint the
BOLi had refused to transfer his EEOC case to the EEOC, to accept complaints
concerning retaliation for whistleblowing and other wrong doing by Agate and the state,
he was transferred to a woman representing herself as Cylvia Hayes, who claimed to be
a BOLi supervisor), Agate made another "campaign contribution" of $10,000 on
10/21/2014, after they and Oregon being served with papers for unlawful conduct in the
Relators wrongful termination in this matter.

That these were not "campaign contributions", but bribes, is born out by the fact that
records indicate Agate Healthcare of *never* having made campaign contributions prior
to this. The dates, the amounts, designed to circumvent federal notice, all provide
sufficient evidence that these were bribes. The fact that the EAB introduced new
hearsay "evidence" and they used documents shown to be fabrications, and excluded
for that reason by the Administrative Court judge. This is a classic case of Pay to Play
politics. (exhibit 10, 11, 12)

In the United State v Milton E. McGregor, et al (2:1Ocr186-MHT), the court wrote:
" ... when there is a quid pro quo agreement, orally or in writing, that is, a mutual
understanding, between the donor and the elected official that a campaign contribution
is conditioned on the performance of a specific official action, it constitutes a bribe under
federal law." There is clearly sufficient evidence, here, to bring charges against both the
EAB and former Governor, here, and to charge Agate with attempted bribery.

Following the EAB's overturning the the court decision, evidence suggested to the
Relator that the EAB broke state and federal rules by having Agate or their attorney
actually write their decision. When the Relator appealed the EAB decision to the Oregon
Court of Appeals, the EAB needed Agate's attorney to "assemble the record". The EAB
did not have it!

The Relator discovered in May 2014 that Agate had hacked into his private computer
and had read email communications between himself and federal investigators and
private attorney's. The Relator had been sent home, on "administrative leave", for
unspecified reasons at 9;00 a.m. on September 16, 2013 and Microsoft Corporation
records prove that intrusion took place by Agate beginning at 10:37 a.m. and continuing

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beyond 11 :21 a.m. Those records show an email, from the Relator, to Agate at 11 :53
a.m. on the same day. There is another series unlawful intrusions on 9/20/2013 from a
Seattle WayPort WiFi hotspot (IP Address 64.134.136.142). The Relator notes that this
is internet hacking across state lines. This was reported to the FBI. These are both in
state and interstate intrusions, in violation of both state and federal laws (18 USC §
1030). That the target was a whistleblower, that Agate had no right or permission to
hack into the Relators email, and that they used that information for obstruction of
justice and retaliation, likely involving state officials, makes this a federal crime and a
serious violation of the Relators civil rights.

The Relator, also, has documents of unlawful cell phone intercepts, likely by agents of
Agate or by the state of Oregon. The state of Oregon operates the Titan Fusion center,
under the Oregon Department of Justice. The Relator used equipment and software to
trace these intercepts and has screen shots of them. When the Relator drove to the
location of the "spoofed" cell phone tower, he observed a van leaving the area with state
license plates, but was unable to get a photograph of that. This is not proof of state
involvement, but it clearly suggests it and suggests state involvement in this matter and,
furthermore, suggests state misuse of OHS equipment and programs in spying on and
retaliation against a known whistleblower. The Supreme Court ruled on June 25, 2014,
that cell phone communications and the information contained on them, are protected.
 11
    Modern cell phones, as a category, implicate privacy concerns far beyond those
implicated by the search of a cigarette pack, a wallet or a purse," Chief Justice John
Roberts wrote for the court. That the decision was written, not just over warrantless
police access to cell phone information, but over the protection of medical information,
stored on a cell phone, and that was the original reason Agate and Oregon targeted the
 Relator's cell phone and computer, makes this especially pertinent.

The state's use of this technology is especially worrisome because the Relator has
information concerning the political use of information obtained via Titan, opposition
research for favored political candidates, spying on petitioners opposed to state actions.
Reports in the Oregonian and Willamette Week have been based on leaks of
information from this source.

With "nothing to loose", since Agate knew due to hacking his computer, the Relator
revealed to the court that he was a whistlebtower and that Agate had been hacking into
his computer since at least the middle of August, 2013 . They had discovered that the
Relator was reporting fraud, kickbacks, bribes, and other unlawful activities to private
attorney's and to the Oregon Attorney General's Office. The Relater had reported HIPAA
violations to CMS, HHS, the US Attorney General, and other federal agencies. Those
documents can be provided to the Court, if it so wishes.



20. The consequence of that was the involvement of the Justice Department
(intercepting and withholding motions filed to the Oregon Court of Appeals) (Lxnibit. 7
ar d b), the Unemployment Office demanding a federal 1-9 form, demanding detailed

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financial and bank records, records of everywhere the Relator had lived or worked since
high school.

A state employee with a distinctive voice pattern and accent, the Relator believes to be
Australian, called the Relator representing herself as a special investigator for US
Health and Human Services. She demanded a detailed account of the Relators finding
and all of the documents the Relator had AND had in safekeeping with attorneys. The
Relater declined and called HHS, called the FBI, and was informed that no such
investigator existed, and they would be highly unlikely to schedule a Starbucks coffee
shop for such a meeting. (L~.nibi'i: d, ,mnscripi :-:;tnd ,'l. Ln , A. n.. ~ord·ng :>ft 1is is Jn thr;;
CD in the folder "Voice Recording From Shellv"}

(The Relater only has a cell phone, records of all of those calls from the State are
available. However, since the Relator's cell phone is an iPhone, with iCloud storage, the
hackers have likely had access to every record, email, and document written or
collected by the Relater, likely by the use of an IMSI catcher and intercepts.) The
Relator has changed passwords, constantly monitors his email and phone for intrusions,
but the unknown parties always reappear after a few days at most, until quite recently.
[14].

The Relator is unfamiliar with the requirements for use of OHS provided equipment,
however he cannot fathom any circumstance under which a state or state contractor
would be granted federal approval for this. This, at the very least, requires the state and
Agate to turn over records as to the reason provided to federal authorities for these
blatant intrusions.

The Oregon courts have gotten deeply involved in this, too, and have been attempting
to cover up unlawful acts by the State have committed judicial misconduct to
accompany the prosecutorial misconduct by the Oregon Judicial Department and the
Employment Department and the Oregon Court of Appeals and engaged in conduct that
begs for an investigation (See accompanying federal lawsuit for details on this.)


2 1. The Relater also has some knowledge of Cover Oregon. Grants were given to OHP
contractors to create gateways into the State site. The Relater heard, second hand, that
Agate received a grant for several million dollars for this. The person creating that
gateway was Agate's sole web page programmer, a full time Agate employee. At best,
his work on this would have taken a few weeks. Even $20,000 would have been an
exorbitant amount to pay for this.

(Note, the Relater created web sites and portal, filling in for the web page programmer,
when he was busy, and has a very good idea of how long it takes to create a web
portal.) All of the OHP contractors offer a healthcare plan on Oregon's exchange and all
received grants. If the Court wants to know where the "other" two-thirds of the federal
grant money disappeared, this is where the bulk of it went. Usual practice would entail
kickbacks to multiple persons. That could be found by looking at the current shareholder

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accounts, payments and "campaign contributions" to various political figures involved in
these schemes.

The Relator has additional information and is desirous to hand it off to the government.
The Relator stands ready to assist the government in any way, to recover that money.


22. The Relater has contacted multiple state and federal agencies about this matter.
The Relater contacted Kate Brown, when she was Secretary of State, concerning his
whistleblowing and asked for protection from retaliation and assistance. The Relator
contact Jeanne Atkin's, when she was on Senator Jeff Merkley's staff, concerning all of
this (spoke to her for over an hour, answering every question she asked, in anticipation
of Senator Merkley's help in resolving this mess - she took the information directly to
the state, and was rewarded by being made Secretary of State) and has repeatedly
attempted to get the Oregon Secretary of State Office concerning retaliatory acts
against himself and his family, the use of "campaign contributions" as bribes, suspected
unlawful corporate activities by Agate and present and former Agate senior
management officials. She did nothing. The Relator has repeatedly contacted the
Seattle Regional Office of the EEOC, asking them to pry his case loose from BOLi, and
to ask them to investigate BOLi when Mr. Lynch and other BOLi officials dismissed his
case when the Relator filed a complaint in federal court over their misconduct, failure to
 keep promised filing, failure to communicate with the Relator as required by law.


IV. PRAYER FOR RELIEF

WHEREFORE, Plaintiff, United States of America, through Relator, requests the Court
to enter the following relief

A. Defendants be ordered to cease and desist from violating the federal statutes and
   regulations pertaining to HIPAA, unlawful intrusions using IMSI catchers and other
   cell phone intercept equipment, unlawful hacking into my emails and other
   communications.
B. Defends be ordered to cease and desist any unlawful persecution of whistleblowers
   in this matter and in the investigation of Cover Oregon (and the Relator has
   information of fraudulent activities concerning THAT, also.)
C. That this Court makes the State of Oregon liable for at least one third of the
   damages, since Oregon willfully failed to disclose to the federal authorities
   revelations of criminal conduct as detailed by HIPAA HITECH, enabled and
   participated in the coverup of these unlawful actions and colluded with Agate in
   retribution against the Relater for whistleblowing,
D. That this Court enter judgement against the Defendants an amount $650 million for
   willful and continuing violations of HIPAA.
E. That this Court enter judgements against the Defendants in the amount of $1.5
   billion for DME fraud



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F. That the "Ten State" records be used to pursue contractors in other states for DME
   fraud under the False Claims Act
G. That this Court enter judgements for $30 million against the the State of Oregon,
   agency heads, employees, hospital heads, physicians, and others who have
   received kick-backs, "shares" and payoffs
H. That this Court order a federal task force to interview the database and network
   administrators, report writers, analysts for all current and past OHP contractors for
   similar violations, which the Relator was told about *personally* from other
   database administrators for Oregon Health Plan contractors at state meetings.
I. That this Court enter appropriate judgements for other violations of federal law
   resulting from this complaint.
J. That this Court order all of the victims of unlawful termination by Agate and Oregon
   in their sale of medical information be informed of that and compensated for
   unlawful termination and for any harm done as a result of their and their dependents
   losing medical insurance.
K. The Relater begs this Court to criminally prosecute Terry Coplin, Nanette Woods,
    Patrice Korjenek, The CCO and LIPA Board colluding with Agate in defrauding
    Medicaid and Medicare, Oregon Attorney General Ellen Rosenblum, Employment
    Board members, Tony Corcoran and Susan Rossitier, Employment Department
    Employees "Shelly" and the unnamed woman representing herself as a federal
    agent, and others involved in this for their unlawful acts in this matter. My State is
    engaged in racketeering, misappropriation of federal funds, fraud, bribery and
    kickback schemes, and it requires the intervention of the federal courts to return to
    the rule of law and recapture it's dignity and the trust of its citizens.




The Relator swears that everything in this complaint is true, to the his knowledge.


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                                   UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         EUGENE DIVISION




THE UNITED STATES OF AMERICA, ex                               Case No.: 6: 14-cv-01424-MC
rel. MICHAEL T. BROOKS,
                                                   DEFENDANTS' MOTION TO SEAL
                       Relator,                           PETITION FOR WRIT OF
                                                      CERTIORARI ATTACHED TO
         V.                                      RELATOR'S REPLY AND REBUTTAL

TRILLIUM COMMUNITY HEALTH
PLAN, INC.; AGATE RESOURCES, INC.;
and LANE INDIVIDUAL PRACTICE
ASSOCIATION, INC.,

                       Defendants.


                                  LOCAL RULE 7-l{a} CERTIFICATION

         Pursuant to LR 7- l(a), counsel for defendants Trillium Community Health Plan, Inc.

("Trillium"), Agate Resources, Inc. ("Agate"), and Lane Individual Practice Association, Inc.




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("LIPA") (collectively "Defendants") certify that they conferred with relator Michael T. Brooks

("Relator") and that Relator opposes the Motion.

                                               MOTION

           Defendants hereby move to seal the petition for writ of certiorari filed by relator Michael

T. Brooks ("Relator") as an attachment to his " Reply and Rebuttal, Defense Demand to Enforce

Protective Order" and to place a redacted version of his petition in the public record, on the

ground that Relator's unredacted petition discloses the confidential health information of third

parties.

                                      MEMORANDUM OF LAW

                                           I. BACKGROUND

           Relator worked as a database administrator for Agate from 2005 to 2013. He was

terminated in 201 3 and, on September 3, 2014, filed this qui tam action under seal asserting

violations of various federal laws, including the False Claims Act, 31 U.S.C. § 3721 et seq.

("FCA"). (See Dkt. 3.) During this proceeding, Relator's counsel acknowledged that Relator

had retained possession of a large quantity of Defendants' documents and information, including

many documents containing PHI. (Dkt. 51         ~   6.) On January 20, 2016, this Court entered a

Protective Order requiring the return of all confidential documents at the conclusion of the

litigation, including all documents Relator retained from his employment with Defendants. (Dkt.

57.)

           Other than a Petition for Writ of Certiorari to the U.S. Supreme Court filed by Relator in

 another action (the "Petition"), all of his lawsuits and administrative actions against Defendants

 have now concluded, and Defendants on December 22, 2020 filed a Motion to Enforce

 Protective Order seeking the return or destruction of all confidential documents, including all of


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Defendants' documents that Relator retained upon his termination. (Dkt. 91.) Relator's "Reply

and Rebuttal" to that Motion attached a copy of the Petition, which describes some records of

college students and medical treatment they received, potentially disclosing PHI. 1 Although

Relator filed a motion to seal two other documents containing PHI, he did not seek to seal the

Petition.

II. THE COURT SHOULD SEAL THE CONFIDENTIAL HEALTH INFORMATION IN
            RELATOR'S PETITION FOR WRIT OF CERTIORARI.

        A party seeking to seal a judicial record must typically overcome the "strong

presumption" in favor of public access by meeting the "compelling reasons" standard," which

allows a record to be sealed only when the Court finds "a compelling reason and a1ticulate[s] the

factual basis for its ruling, without relying on hypothesis or conjecture." Ctr. for Auto Sqfety v.

Chrysler Grp., LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016) (quoting Kamakana v. City &

County of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006)). The Court must then

"conscientiously balance[] the competing interests of the public and the party who seeks to keep

certain judicial records secret." Id. at 1097 (quoting Kamakana, 447 F.3d at 1178).

         An exception exists, however, "for sealed materials attached to a discovery motion

unrelated to the merits of a case." Id. (citing Phillips ex rel. Estates ofByrd v. Gen. Motors

Corp., 307 F.3d 1206, 1213- 14 (9th Cir. 2002)). Under this exception, a party need only show

"good cause," as directed by Federal Rule of Civil Procedure 26(c)(I), which relates to

protective orders. Id. (citing Foltz v. State Farm Mui. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th

Cir. 2003)). "When deciding what test to apply to a motion to unseal a particular court filing-

the presumptive 'compelling reasons' standard or the 'good cause' exception- [courts] have


            1
          Because this petition potentially disclosed PHI, Defendants are not submitting a copy,
but it can be provided in camera upon request.
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sometimes deployed the terms ' dispositive' and ' non-dispositive," ' depending "on whether the

motion at issue is more than tangentially related to the underlying cause of action." Id. at 1098-

99.

        The Court should apply the "good cause" standard here because the Petition is an exhibit

unrelated to the merits of this action that is attached to a discovery motion response. But

regardless of which standard the Court applies, the Petition should be sealed.

A.       Preventing Disclosure of HIP AA Protected Health Information Constitutes Good
         Cause to Seal the Petition.

         To safeguard the privacy of patients, the statutory and regulatory protections of the

Health Insurance Portability and Accountability Act of 1996, as amended ("HIP AA"), supply a

compelling reason to seal the information in Relator's petition for a writ of certiorari. See Pub.

L. No. 104-191, 110 Stat. 1936 (1996); 45 C.F.R. pts. 160, 162, 164. Except as specifically

authorized by regulation, any public disclosure of " protected health information" by a covered

entity is prohibited by HIPAA and its implementing regulations. 45 C.F.R. § l 64.502(a). Courts

in this circuit have filed documents under seal on the grounds that protection of protected health

information constitutes good cause. Ennis v. Aetna Lile Ins. Co. , No. 3:18-CV-01617-WHO,

2018 WL 4636197, at *4 (N.D. Cal. Sept. 24, 2018).

           Here, the information that Relater discloses about the college students appears to be

protected health information, for the following reasons. First, the information- as described by

Relator- appears to constitute " health information." Under HI PAA, "health information" is

 information that (1) is created or received by a health care provider, health plan, or certain other

 entities, and (2) relates to the past, present, or future physical or mental health or condition of an

 individual, the provision of health care to an individual, or the past, present, or future payment

 for the provision of health care to an individual. 45 C.F.R. § 160.103. Here, according to

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Relator, the information about the medical care sought by the college students appears to have

been created by the student's health care providers and transmitted to the student's health

insurer. The information also relates to the students' health and the provision of medical care to

them, including reproductive services. It appears, therefore, to be " health information" for

purposes of HIPAA.

         Second, the health information as described by Relator appears to be "individually

identifiable health information." That term includes health information "with respect to which

there is a reasonable basis to believe that the information can be used to identify the individual."

42 U.S.C. § 1320d(6); 45 C.F.R. § 160. l 03. Individually identifiable health information may

include demographic information. 42 U.S.C. § 1320d(6); 45 C.F.R. § 160.103.

          Here, there is a reasonable basis to believe that one of the individuals could be identified

from the combination of the individual's (1) nationality, (2) family of origin, (3) gender, and (4)

status as a college student in Oregon. (See Pet. at 3, 9.) As a result, the individual's identifying

characteristics and the reproductive services sought by this individual appear to constitute

"individually identifiable health information."

          Furthermore, the petition describes two other individuals by student status and

nationality. (/d.) However, the de-identification of health information entails removing certain

geographic identifiers that apply to fewer than 20,000 people. 45      c.r.R. § 164.514(b)(2)(i)(B).
Here, the health information about two individuals of a specified nationality located at Oregon

colleges-out of a group that is likely much smaller than the regulatory criteria-may also

constitute individually identifiable health information for purposes ofHIPAA.




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        Third, all "individually identifiable health information" transmitted or maintained in any

form or medium is "protected health information" unless a regulatory exception applies. 45

C.F.R. § 160.103. It does not appear that any of the exceptions are applicable here.

        In sum, the information in Relator's petition for a writ of certiorari appears to be

protected health information that Congress sought to ensure would remain confidential to protect

patient privacy. The serious infringement of these college students' privacy that would result if

the unredacted petition were to be made public strongly supports sealing it.

B.      Alternatively, Compelling Reasons Exist to Seal the Petition.

        Even if the Court applies the more rigorous "compelling reasons" standard, it should

nonetheless order the Petition to be filed under seal. "The need to protect medical privacy

qualifies in general as a 'compelling reason."' Karpenski v. Am. Gen. Lffe Companies, LLC, No.

2:12-CV-01569RSM, 2013 WL 5588312, at *I (W.D. Wash. Oct. 9, 2013) (quoting G. v.

Hawaii, 2010 WL 2607483 (D. Haw. 20 10)). As discussed above, the Petition contains what

appears to be HIPAA-protected health information, and disclosing it would provide no public

benefit and would violate this Court's Protective Order.

         1.       The Public Would Gain Nothing by Disclosure of the Health Information.

         There would be no public benefit from disclosing the health information of these third-

party college students. The particular details of the individuals' personal lives and medical care

are not germane in any way to the Petition or to Relator's obligation to comply with the

Protective Order. Thus, public disclosure of the information would not lead to even an

incremental improvement in the public's understanding of this Court's disposition of

Defendants' Motion. Rather, the information would serve only to "promote public scandal" and

reveal the "painful" details of third pa11ies' personal lives and health. Nixon v. Warner


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Commnc'ns, Inc., 435 U.S. 589,598, 98 S. Ct. 1306, 55 L. Ed. 2d 570 (1978) (internal quotation

marks and citation omitted).

        2.        Public Disclosure of the Information by Relator Could Violate the Protective
                  Order Entered in This Case.

        Relator does not specifically explain the manner in which he obtained the records and

information about these college students, but it seems likely-or at least possible-that he

obtained them through his former position as a data warehouse administrator at Agate. (Pet. at

30 ("When he was granted access to the claims database in 20 I0/11, Brooks started looking for

fraud, looking backward to 2000 in the record set and forward to the present day."); see also id.

at 9 ("Brooks tried to provide this court with records showing harm done to foreign nationals .

. . . Agate and Centene got those records from Oregon.").) If those records and the information

therein were obtained by Relator from or in connection with his employment at Agate, the

information is subject to the Protective Order and "shall be deemed Confidential" pursuant to

that order. (Dkt. 57 i[ 3.) Any disclosure of it to the general public by Relator would violate the

Order. (Id.   ,r 8.)   Yet even after being repeatedly reminded of the Protective Order, Relator

appears to have intentionally ignored it by attempting to publicly file the Petition containing the

students' information in both this Court and the Supreme Court. Relator's deliberate disregard

for the privacy interests of third parties constitutes yet another factor weighing in favor of

sealing.

                                           III. CONCLUSION

        Regardless of which standard the Comt applies, it should order the Petition to be filed

under seal. The redacted Petition contains all of the original's contents except the confidential

health information of third parties. Because there would be no public benefit but would be

significant harm to these individuals' privacy if the health information at issue were to be made

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public by Relator, and because the disclosure likely violates the Court' s Protective Order,

Defendants respectfully request that the Court seal Relator's unredacted Petition and substitute in

the public record the redacted version attached hereto.



           DATED: January 28, 2021.                STOEL RIVES      LLP




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 Mike Brooks
 Mike Brooks Schedule
 September 18, 2013 at 9:34 AM



My schedule:

Per my PTO request to Patrice (approved) I am going to be in Seattle this coming Friday.
My friends are leaving for Luxembourg on Saturday and I need to pick up some things for
storage from them as well as seeing them off.

Monday, September 23, 2:00 p.m. Doctor's appointment with Dr. Brian Mehlhaff. He's a
urologist, but was the doctor who found the growth in my right lung and, per my PCP's
direction, has been doing an annual Cat-Scan, tests, and has prescribed drugs for that.

Thursday, 12:00, Doctor's appointment with Dr. Katherine Beckstrand to follow up on that
and to run another series of tests and conduct a complete physical examinatio n.

Daily, I work out at Oakway Fitness from 4:30 until 6:00. Every Tuesday and Thursday I
meet with either a dietician or trainer. Today, however, at 4:30, I have a scheduled meeting
with a trainer, too, for weight lifting. Because of the injuries to my feet, I cannot do Tae
Kwon Do and Hopkaedo any longer and it is extremely important that I get into a regular
routine of exercising per my PCP.

I am s upposed to make a followup appointment with Dr. Edwards about my eye before the
end of the month.


Mike Brooks
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                  EXHIBIT 9
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                  1

                  2
                                                    STATE OF OREGON
                  3                D E PARTMENT OF CONSUMER AND BUSINESS SERVICES
                                           DIVISION OF FINANCIAL REGULATION
                  4
                        In the Matter of                                Case No. INS 15-12-003
                  5
                        AGATE RESOURCES, INC.,                          ORDER TO CEASE AND DESIST,
                  6                                                     ORDER ASSESSING CIVIL PENALTY,
                                        Respondent.                     AND CONSENT TO ENTRY OF ORDER
                  7

                  8            WHEREAS the Director of the Oregon Department of Consumer and Business

                  9     Services ("Director"), by and through the Division of Financial Regulation, commenced

                  LO this administrative proceeding, pursuant to Oregon Revised Statutes ("ORS") 731.256, to

                  11    take enforcement action against Agate Resources, Inc. ("Agate"); and

                  12           WHEREAS Agate wishes to resolve and settle this matter with the Director,

                  13           NOW THEREFORE, as evidenced by the authorized signatures subscribed on

                  14 this order, Agate hereby CONSENTS to entry of this order upon the Director's Findings

                  15 of Fact and Conclusions of Law as stated hereinafter.
                  16

.g__;
.. C
                  17                                       FINDINGS OF FACT
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"; viUloooe>
                                The Director FINDS that:
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li]~~
o;     ~~   u
                  19          1.    Trillium Community Health Plan, Inc. (''Trillium") is an Oregon corporation

-~ :l~f
·>..co.!!~
                  20 formed on February 14, 2006. Tri! lium' s last known principal business address is 1800
Qj~~~
                  21 Millrace Drive, Eugene, OR 97403.

                              2.     Lane Individual Practice Association Inc. ("LIPA") is an Oregon corporation

                         formed on January 29, 1996. LIPA owns 60% of Trillium's issued and outstanding

                  24 shares of common stock.
                  25          3.     Agate is an Oregon corporation formed on December 12, 2003. Agate's last

                  26 known principal business address is 1800 Millrace Drive, Eugene, OR 97403. Agate

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1 provides administrative services and leases employees and buildings for Trillium and

2 LIPA. Agate owns 40% of Trillium's issued and outstanding shares of common stock

3     and 100% of LIPA's issued and outstanding shares of common stock.

4          4.     Trillium received its certificate of authority as a health care service contractor

5 in Oregon on April 18, 2006.
6          5.     Agate has never been issued a certificate of authority evidencing the authority

7 to transact insurance in Oregon.

8          6.     Trillium had a verbal reinsurance and risk sharing arrangement with its parent,

9     Agate, under which Trillium paid a per-member, per-month fee to Agate in return for a

10 percentage of the risk between $100,000 and $300,000. The risk sharing arrangement

11    struted on August 1, 2012 and ended on December 31, 2014.

12

13                                    C O NCLUS IONS OF LAW

14              The Director CONCLUDES that:

15         7.      Agate transacted insurance as defined under ORS 731.102( l) and ORS

16 731.146(1)(c) by receiving a per member, per month fee from Trillium in return for a

17 percentage of the risk between $100,000 and $300,000.

           8.      Agate did not hold a certificate of authority under ORS 731.072(1). Agate

19 violated ORS 731.022 and ORS 73 1.354 because Agate transacted insurance without a

20 certificate of authority issued under ORS 731.072(1).

           9.      In accordance with ORS 731.988(1), the Director may assess civil penalties in

22 an amount not to exceed $ 10,000 per violation against persons who violate any provision

23 of the Insurance Code.

24

25                                               ORDERS
26              Now, therefore, the Director issues the following ORDERS:

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1         10.      Pursuant to ORS 731.252, the Director hereby ORDERS Agate to

2     immediately cease and desist from having a reinsurance and risk sharing arrangement

3 with Trillium in violation of ORS 731 .022 and ORS 731.354.

4         11.      In accordance with ORS 731.988(1), the Director hereby ORDERS Agate to

5 pay a civil penalty of $10,000 (ten thousand dollars) for violating ORS 731.022 and ORS

6 73 1.354. The payment shall be made in the form of a check payable to the "Department

7 of Consumer and Business Services." The payment shall be delivered or mailed to the

8 Division of Financial Regulation at the Labor and Industries Building, 350 Winter Street

9 NE, Room 410, Salem, OR 97301-3881; or mailed to the Division of Financial

10 Regulation at PO Box 14480, Salem, OR 97309-0405. The payment is due and payable

11    within 30 days of the final execution of this order.

12              SO ORDERED this --=..:10" --_ day of February                         , 2016 in

13 Salem, Oregon.

14                                    PATRICK M. ALLEN, Director
                                      Department of Consumer and Business Services
15

16
                                         /~/ Laura Cali
                                       Laura N. Cali, FCAS, MAAA
                                       Insurance Commissioner
                                       Administrator, Division of Financial Regulation

                           [The remainder of this page intentionally left blank.]




24

25

26


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                                                           CONSENT TO ENTRY OF ORDER
                          1
                                       I,   T erry W. Coplin                            , state that I am an officer of Agate
                          2
                                Resources, Inc. and I am authorized to act on it<; behalf. I have read the foregoing order,
                          3 and I know and fully understand the contents hereof. I have been advised of the right to
                          4 a hearing and of the right to be represented by counsel in this matter. Agate Resources,
                                Inc. voluntarily and without any force or duress consents to the entry of this order
                          5
                                expressly waiving any right to a hearing in this matter. Agate Resources, Inc.
                          6
                                understands that the Director reserves the right to take further actions to enforce this
                          7 order or to take appropriate action upon discovery of other violations of the Insurance

                          8 Code. Agate Resources, Inc. will fully comply with the terms and conditions stated
                          9 herein.
                                        Agate Resources, Inc. understands that this order is a public document.


                          11
                                                                Isl T erry W . Coplin
                          12                                    Signature

                          13                                    Terry W. Coplin
                                                                Printed name
                          14
                                                                 Secretary - Officer
                          15                                     Office held

                          16
 " 0
.gaW                      17
";-=~          r-,.
                                                                  ACKNOWLEDGMENT
 o~ ·-         oo
.;!'5 ~ -~
_c:aujoo ®                18            There appeared before me this _2_      day of    February               , 2016,
·~.~z~ ~
t:!::   u- -
-~.g ~~~ 19                             Terry W. Coplin                , who was first duly sworn on oath, and stated that
U.. c V,°' -

]ii~J                           she/he was and is an officer of Agate Resources, Inc. and that he is authorized and
::o~ ~~ 20
>..00--
o~~r/2~
                                empowered to sign this Consent to Entry of Order on behalf of Agate Resources, Inc.
        ..--              21
                                and to bind Agate Resources, Inc. to the terms hereof.
                )
                  '   I   22

                          23      Isl Sandra Lee Stepp
                                Signature of Notary Public
                          24

                          25

                          26

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               EXHIBIT 11
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                                     STATE OF OREGON
                       DEPARTMENT OF CONSUMER AND BUSINESS SERVICES
                                   INSURANCE DIVISION

                                  BEFORE THE om.ECTOR
                   OF THE DEPARTMENT OF CONSUMER AND BUSINESS SERVICES


In the Matter of the Proposed Plan of Acquisition of                    )         Findings of l~act, Conclusions of
Control of Trillium Community Health Plan, Inc.,                        )         Law and Order
Eugene, Oregon, by Centene Corporation, St. Louis,                      )
Missouri                                                                )         Case No. 15-04-022


                                                       INTRODUCTION

         On February 6, 2015, Centene Corporation ("Centene") filed a Statement Regarding the

Ai.xJuisition of Control of or Merger with a Domestic Insurer to acquire control of Trillium Community

Health Plan, Inc. (''Trillium") as required by ORS 732.517 through 732.546 (the "Fonn A"). The filing

fee required under OAR 836-009-0007(1 2) was received by the Oregon Insurance Division on February

12, 2015. The acquisition described in the fili ng was approved by the Board of Directors of Centene on

January 23, 2015.

         Supplemental information was periodically provided until the filing was complete on June 24,

2015,

                                                    FINDINGS OF FACT

(1)      TriUium was in~rporated in Oregon on February 14, 2006, as a for-profit corporation that

received its Certificate of Authority as a health care se1vice contractor on April 18, 2006. Trillium is a

subsidiary of Agate Resources, Inc. ("Agate") and Lane Tndividual Practice Association, Inc. ("LIPA"),

which own 40% and 60% of its issued and outstanding common stock, respectively.




Proposed Plan of Acquisition of Trilli um Comnmoity Heultb Plan, Inc.
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(2)      Trillium was authorized to operate as a Coordinated Care Organization ("CCO") under a contract

entered into with the Oregon Health Authority ("OHA") on August 12, 2012 (with renewal contracts and

amendment, the "CCO Contract").

(3)      Agate is an Oregon corporation formed on December 12, 2003. Agate provides administrative

servi_ces and leases employees and buildings..for Tnl.1-ium and LIPA. Agate w ns 40% of.Irnlium's

issued and outstanding shares of common stock and 100% of LIPA' s. Agate is owned by more than two

hundred individual shareholders.

(4)      LIPA is an Oregon corporation formed on January 29, 1996, that owns 60% ofTrillimn's issued

and outstanding-shares ofcommon stock. It-is a wholly owned subsidiary of Agate.

(5)      Centene is a publically traded diversified, multi-line healthcare enterprise that provides

programs and services to government-sponsored healthcm·e programs, focusing on under-insured and

uninsured individuals. Centene subsidiaries offer healthcare services in several states, including

California, Washington, Florida, Illinois, Massachusetts, Ohio and Texas.

(6)      Prefontaine Merger Sub, Inc. is a Delaware corporation and wholly owned subsidiary of

Centene (''Merger Sub") that was formed to facilitate the acquisition of Agate by Centene and is not

expected t.o have any material business operations.

(7)      Trillium has 5.000 shares of common stock outstanding with LJPA owning 3,000 shares and

Agate owning 2.000.
(8)      Centene proposes to acquire control of Trillium tluough its acquisition ofAgate (the

"Acquisition") through a merger of Merger Sub with and into Agate, with Agate as the surviving

corporation in the merger (the ''Merger"). As a result of the Merger, the shareholders of Agate will be

entitled to cash consideration. and Centene will become the sole shareholder of Agate and thereby gain

control of Agate and Trillium.



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(9)       Centene has access to cash sufficient to pay the purchase price for the stock of Agate as provided

for in the Merger Agreement.

(10)      The terms and conditions of the acquisition are set forth in the Agreement and Plan of Merger hy

and among Centene Corporation, Prefontaine Metger Sub, Inc., Agate Resources, Inc. and James

Dalton, as the stockholder representative (the "Agreement"), dated as ofJanuary 25, 2015.

(11)      Trillium management forecasts that following the contemplated dividend described in paragraph

(15) below and closing of the acquisition, the year end 2015 capital and surplus of Trillium wili be

approximately $47,000,000.

(12)      The Purchase Price is set forth in the Agreement. It was established through negotiations

between Centene and Agate. The purchase of Agate includes all of its subsidiary entities, including

LIPA and Trillium."Final Merger Consideration" means, as finally determined pursuant to Section

2.12, the sum of:

                 (i) $80,000,000;

                 plus (ii) the Aggregate Option Exercise Price;

                 minus (iii) the excess, if any, of the Working Capital Target over the Final Working
Capital;

                 plus (iv) the excess, if any, of the Final Working Capital over the Working Capital
Target;

                 minus (v) the excess, if any, of the Target RBC over the Final RBC;

                 plus (vi) the excess, if any, of the Final RBC over the Target RBC;

                 minus (vii) the Final Indebtedness;

                 minus (viii) the Final Transaction Expenses;

                 minus (ix) the Stockholder Representative Holdhack Amount; and

                 minus (x) 50% of the Community Investment Fund Amount.

                 "Deferred Purchase Price" means $20,000,000.


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                On each of the first, second and third anniversaries of the Effective Time, Purchaser shall

                deliver to the Paying Agent, by wire transfer of immediately available funds to an

                account designated in writing by the Paying Agent a11 amount in cash equal to the product

                of (x) 1/3 of the Deferred Purchase Price less (A) any Reduction Amounts, (B) any

                Unresolved Claim Amounts, in each case, not previously deducted from payments made

                hereunder, and/or (C) any Additional Stockholder Representative Holdback Amount and

                (y) the Stockholder Percentage, for distribution to the Stockholders.


(13)     Following the acquisition of Trillium, Centene does not anticipate a change to the corporate

name of Trillium.

(14)     There are no current plans, other than as stated herein, to declare an extraordinary dividend, to

liquidate, or to sell or merge any assets of Trillium following the acquisition.

(15)     Under the Merger Agreement, prior to closing Trillhlm is expected to declare and pay a dividend

to Agate and LIPA (with LIPA paying the amount it receives to Agate in the form of dividend) such that

Trillium's Risk Based Capital would be reduced to approximately, and not less than, 200.00 percent of

Trillium's Authorized Control Level. Action to declare the dividend may be taken following the

approval of the acquisition, and payment of the dividend will be made prior to the closing of the

acquisition. Centene and Agate understand that any such dividend will require prior notice to and the

prior approval of the Division, or failure of the Division to disapprove the request for approval of the

payment of such dividend during the period prescribed by ORS 732.576.

(16)     Centene provided an anticipated parental guarantee of Trillium that will go into effect following

the approval of the transaction to ensure certain 'financial benchmarks ofTtillium are within regulatory

thresholds, as defined under the Insurance Code, Oregon Adminish·ative Rules, and guidance and

processes as defined by the National Association of Insurance Commissioners. The guarantee is solely


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limited to the regulatory authority of the fosurance Division of the Oregon Department of Consumer and

Business Services.

(17)    Subject to rights shareholders may have under the Agreement and under ORS 60.551 through

60.594, the legal positions, equities, rights and relationships of Agate's individual shareholders, as

shareholders of Agate, will terminate upon consummation of~he acquisition. Immediately following the

acquisition, Centene will directly own 100% of the issued and outstanding common stock of Agate.

(18)    The legal positions, equities, rights and relationships of Agate will continue upon consummation

of the acquisition.

(19)    The legal positions, equities, rights and reJauonships of LlPA will continue upon consummation

of the acquisition. Immediately following the acquisition, through its 100% ownership of Agate,

C{,-n.tene will indirectly oy., l 00~£.the-issuw and outstanding common stock of LIP A.

(20)    The legal positions, equities, rights and relationships of Trillium will continue upotr

consummation of the acquisition. Immediately fo11owing the acquisition, through the l 00% ownership

of Trillium by Agate and LIPA, Centene will in.directly owu 100% of the issued and outstanding

common stock of Trillium.

(21)    All cmTent officers and directors of Trillium will remain in place immediately following the

Closing. Terry Coplin, Secretary and Chief Executive Officer of Trillium, wil1 enter into a separate

employment agreement with Centene in com1ection with the Closing.

(22)    Upon completion of the proposed acquisition, Trillium will have management comprfaed of

individuals with many years of experience in insurance.

(23)    OHA provided by letter dated June 12, 2015, thal ·11illium is in satisfactory standing under the

tenns-of the CCO Contract and that the acquisition will neither alter Trillium's compliance with the

e<,,..-tification standards for CCO nor fundamentaUy change the information based on which Trillium was

certified as a CCO.

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(24)     On the basis of the Statement Regarding the Acquisition of Control of Trillium Community

Health Plans, Inc. by Centene Corporation and specifically on the basis of the findings of fact above, the

Director enters the following:


                                         CONCLUSIONS OF LAW


1.        The Statement Regarding the Acquisition of Control of Trillium Community Health Plan, Inc. by
          Centene Corporation that was submitted to the Director is properly supported by the required
         .documents and meets the requirements of the Oregon Insurance Code for approval with respect
          to acquisitions and mergers pursuant to ORS 732.517 to 732.546.

2.       The Director finds that there is no evidence that:

                (a)     The activity is contrary to law or would result in a prohibited combination of risks
                or classes of insurance.

                        The acquisition of control of Trillium by Centene is pennitted by ORS 732.517 to
                        732.546.

                (h)     The activity is inequitable or unfair to the policyholders or shareholders of any
                insurer involved in, or to any other person affected, by the proposed activity.

                        The activity is not inequitable or unfair to the policyholders or shareholders of
                        any insurer involved or to any other person affected by the proposed activity. A
                        subsidiary of Centene will merge with and into Agate and Agate's existing shares
                        will be converted into the right to receive the negotiated price. Trillium projects
                        that, following the contemplated dividend and acquisition, the capital and surplus
                        of Trillium for the year ended 2015 will total approximately $47,000,000.
                                                                                                                l
                                                                                                                i
                (c)     The activity would substanti.all y reduce the seeurity of and service to be rendered
                to policyholders of any domestic insurer involved in the proposed activity, or would            !
                otherwise prejudice the interests of such policyholders in this state or elsewhere.             l
                                                                                                               .I
                        The activity will not substantially reduce the security of and service to be            i
                                                                                                                ti
                        rendered to policyholders of any domestic insurer involved or otherwise prejudice
                        the interest<i of such policyholders in this state or elsewhere.

                (d)    The activity provides for a foreign or alien insurer to be an acquiring party, and
                the insurer cannot satisfy the requirements of this state for transacting an insurance
                business involying the classes of insurance affected by the activity.

                        The activity does not provide for a foreign or alien insLU·er to be an acquiring
                        party. As such, this provision is not relevant to the Director's consideration.

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             (e)    The activity or its consummation would substantially diminish competition in
             insurance in this state or tend to create a monopoly.

                     This transaction will not substantially diminish competition of insurance in this
                     state or another state or tend to create a monopoly.

             (f)     After the change of control or ownership, the domestic insurer to which the
             activity applies would not be able to satisfy the requirements for the issuance of a
             certificate of authority to transact the line or Jines of insurance for which the insurer is
             currently authorized.

                     Trillium will be adequately capitalized to transact the lines of business for which
                     it is authorized in Oregon. See ORS 750.045.

             (g)     The financial condition of any acquiring party might jeopardize the financial
             stability of the insurer.

                     The transaction with Centene wilI enhance - not jeopardize - the financial
                     stability of Trillium.

             (h)     The plans or proposals that the acquiring party has to liquidate the insurer, sell its
             assets or consolidate or merge it with any person, or to make any other material change in
             the insurer's business or corporate structure or management, arc unfair and unreasonable
             to policyholders of the insurer and not in the public interest.

                     Following the proposed u·ansaclion, Centene has no current plans to liquidate
                     Trillium, sell its assets or consolidate or merge it with any person, or to make any
                     other material change in its business or corporate structure or management.

             (i)     The competence, experience and integrity of those persons who would control the
             operation of the insurer ~re such that it would not be in the interest of policyholders of the
             insurer and of the public to permit the activity or its consummation.

                     There is nothing to suggest that the competence, experience and integrity of those
                     persons who will control the operation of Trillium will not be in the interest of
                     Trilliwn policyholders and of the public to permit the actiyity or its
                     consummation.

             (j)    The activity or its consummation is likely to be hazardous or prejudicial to the
             insurance-buying public.

                     The transaction will not be hazardous or prejudicial to the insurance-buying
                     public.

             (k)     The activity is subject to other material and reasonable objections.


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                         OHA provided wtitten indication that the acquisition is not expected to alter
                         Trilliwn's satisfactory standfog under the terms of the CCO Contract. Centene
                         intends that Trillium will continue pe1forming its obligations under the CCO
                         Contract. The Division considered over 50 public comments received, both in
                         support and opposition to this transaction over a period of 36 days. After
                         considering all comments, the division finds that there are no material or
                         reasonable objections to this transaction.




                                                   ORDER

Based on the foregoing Findings of Fact and Conclusions of Law, it is hereby ordered that the

acquisition of control of Trillium Community Health Plan, Inc. by Centene Corporation is hereby

approved and is found to be fair, just and equitable to the Trillitm1 Community Health Plan, Inc.

policyholders.

DATED this     ,t_!i   day of Jtuie, 2015.


                                                                                               A




                                                       Oregon Insurance Commissioner




                                                   NOTICE

        Pursuant to ORS 732.528 (6), any insurer or other party to the propm;ed activity, including the
insurer proposed to be acquired, within 60 days after receipt of a notice of approval or ctisapproval, may
appeal the final order of the dfreetor as provided in ORS 183 .310 to 183.550. For purposes of the
judicial review the specifications recfuired to be set forth in the written notice from the ·director will be
deemed the findi ngs of fact and conclusions of law of the department.



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